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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


 AMAZON.COM, INC.,

                Plaintiff,

        v.
                                                          Case No.   21-CV-767
 ATTORNEY GENERAL LETITIA JAMES, in                       COMPLAINT
 her official capacity as the Attorney General of
 the State of New York,


                Defendant.


       Plaintiff Amazon.com, Inc. (“Amazon” or “Plaintiff”), by and through its undersigned

counsel, brings this action for declaratory and injunctive relief from the New York Attorney

General’s unlawful attempts to subject Amazon—at its JFK8 fulfillment center in Staten Island

and DBK1 delivery station in Queens—to state oversight of activities governed by federal law and

enforced by federal regulators, and alleges as follows:

                                   NATURE OF THE CASE

       1.      Amazon is an essential business providing much-needed supplies and jobs in its

communities.    Amazon has been intensely focused on COVID-19 safety, and has taken

extraordinary, industry-leading measures grounded in science, above and beyond government

guidance and requirements, to protect its associates from COVID-19, earning praise from health

and safety officials and law enforcement officers.

       2.      In developing its response to the COVID-19 pandemic, Amazon has not only relied

on its team of top health and safety professionals but also engaged with over 20 leading global

medical and health experts, including pandemic response doctors, epidemiologists, and industrial



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hygienists, to identify and implement best practices. Based on guidance from these experts,

Amazon has implemented over 150 process changes to promote social distancing, hygiene, and

the safety of its associates, often well before New York State officials and federal officials

recommended analogous measures.

       3.      In order to protect its employees, in March 2020, Amazon expanded its paid and

unpaid leave programs in light of the pandemic, required associates to observe social distancing,

formalized its contact tracing process, and instituted daily temperature checks of all Amazon

associates entering select sites, including its JFK8 fulfillment center in Staten Island, prior to

expanding temperature checks to the entire U.S. operations network. Amazon directed anyone

registering a temperature over 100.4 ºF (or lower where required by state or local authorities) to

return home and only come back to work after they have gone three days without a fever. Amazon

also staggered shift times, rearranged facilities, break rooms and work stations, and instituted

enhanced cleaning protocols. In April 2020, Amazon distributed face masks to all associates and

required that they be worn at all times by anyone in its facilities. It also began daily disinfectant

spraying. By November 2020, Amazon had even built its own COVID-19 testing capacity and

laboratories, and began testing its workforce for asymptomatic cases of COVID-19.

       4.      Amazon’s efforts far exceed what is required under the law, and, as discussed

below, go well beyond measures that the Office of the New York Attorney General (“OAG”) has

deemed comprehensive. Following an unannounced inspection of JFK8 on March 30, the New

York City Sheriff’s Office—which was charged by the Mayor with enforcing COVID-19 safety

requirements—stated that “[t]he facility appeared to go above and beyond the current compliance

requirements” based on “the facility’s temperature screening procedure which is required to enter

the facility”; “numerous legible signs explaining the six-foot social distancing policy”; “taped



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indicators on the floor to enforce this policy”; “work areas, which had every other desk space shut

down so that no employees were within the vicinity of any other employee”; a breakroom that

“appeared to be in strict compliance”; and Amazon’s “staggering [of] employee shifts to both

minimize the amount of staff in the facility at once, and to reduce the amount of staff that was

entering and exiting the building at once to further promote social distancing.” The Sheriff’s

lieutenant who led the inspection concluded that complaints about JFK8 were “completely

baseless” and that “there were absolutely no areas of concern.”

       5.      The data corroborates these independent law enforcement findings—the COVID-

19 infection rate among Amazon and Whole Foods Market front-line employees in New York is

half that of New York’s general population.         And this likely materially understates the

effectiveness of Amazon’s health and safety measures because case rates do not distinguish

between infections that occurred in the community versus those that were work-related. As the

U.S. Department of Labor Occupational Safety and Health Administration (“OSHA”) has

recognized, “[g]iven the nature of the disease and ubiquity of community spread . . . in many

instances it remains difficult to determine whether a COVID‐19 illness is work‐related, especially

when an employee has experienced potential exposure both in and out of the workplace.”1

       6.      Amazon takes the health and safety of its employees extremely seriously, and it has

taken appropriate steps to enforce its health and safety protocols for the protection of its entire

workforce. This is exactly what Amazon did with respect to Christian Smalls and Derrick Palmer,

two associates at Amazon’s JFK8 facility who committed severe health and safety violations.



1
 Patrick J. Kapust, Acting Director, Directorate of Enforcement Programs, Revised Enforcement
Guidance for Recording Cases of Coronavirus Disease 2019 (COVID-19) (May 19, 2020),
https://www.osha.gov/memos/2020-05-19/revised-enforcement-guidance-recording-cases-
coronavirus-disease-2019-covid-19.

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       7.      Amazon terminated Mr. Smalls’ employment after he repeatedly violated social

distancing requirements and an order to quarantine and stay off Amazon property—for which he

was paid—due to a potential COVID-19 exposure. Amazon issued a final warning to Mr. Palmer

for failing to comply with social distancing requirements.

       8.      Amazon necessarily took these actions because Mr. Smalls and Mr. Palmer

deliberately violated Amazon’s health and safety rules and directives and knowingly placed

themselves and their co-workers at risk.

       9.      However, within hours of Mr. Smalls’ termination, and before conducting any

investigation to ascertain these or any other facts, the New York Attorney General publicly

condemned Amazon’s termination of Mr. Smalls.

       10.     The OAG then launched and pursued an investigation of Amazon’s COVID-19

response. Less than a month later and based on its cursory investigation to that point, the OAG

took the highly unusual step of making a “preliminary assessment” that Amazon had violated

safety requirements—including the federal Occupational Safety and Health Act (“OSH Act”) and

its regulations—in connection with Amazon’s response to the COVID-19 pandemic, and that

Amazon had unlawfully retaliated against Mr. Smalls and Mr. Palmer. The OAG’s letter to

Amazon containing the preliminary assessment did not mention the New York City Sheriff’s

Office’s findings that Amazon went “above and beyond” applicable compliance requirements and

that complaints to the contrary were “baseless,” or include any other facts favorable to Amazon.

       11.     From the outset of the OAG’s investigation, Amazon provided the OAG with

extensive information about its extraordinary efforts to protect its associates against COVID-19.

Amazon also provided evidence of its compelling safety-related reasons for taking action against

Mr. Smalls and Mr. Palmer, including photographs of Mr. Smalls violating Amazon’s social



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distancing guidelines at the JFK8 facility after Amazon instructed him to quarantine for a potential

COVID-19 exposure. The evidence showed that Mr. Smalls not only failed to comply with social

distancing requirements, but that, as someone directed to quarantine, he was required to stay off

Amazon property—and was paid for doing so—yet he violated those clear requirements by

returning to the JFK8 property.

       12.     Nevertheless, the OAG refused to give any weight to the substantial amount of

detailed information and documents that Amazon provided regarding its comprehensive health and

safety program or the New York City Sheriff’s Office’s reports—information that squarely rebuts

the OAG’s preliminary assessments. Instead, the OAG continued to claim that Amazon violated

health and safety standards and retaliated against Mr. Smalls and Mr. Palmer.

       13.     The OAG has now threatened to sue Amazon if it does not immediately agree to a

list of demands, many of which have no connection to health and safety and have no factual or

legal basis. Among other things, the OAG has demanded that Amazon “disgorge” profits,

subsidize public bus service, reduce its production speeds and performance requirements, reinstate

Mr. Smalls and pay large sums to Mr. Smalls and Mr. Palmer for “emotional distress,” retain a

health and safety consultant to oversee safety and production, and adopt safety-related policies it

already implemented.

       14.     The OAG’s exorbitant demands are based on a standard for workplace health and

safety far more stringent than the standard adopted by the OAG when defending, in other litigation,

the New York State Courts’ reasonable but more limited safety response to COVID-19 in the face

of threats greater than those present in Amazon’s private facilities. The New York State Courts,

for example, implemented temperature screening months after Amazon, and, unlike Amazon, has

not developed its own testing capacity and provided free tests to its employees. Nevertheless, in



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that litigation, the OAG has claimed that the New York State Courts’ measures were “a

comprehensive regime” that was “reasonable, effective, and necessary in minimizing exposure.”

State Br. 2, Quirk v. Difiore, No. 1:20-cv-5027, ECF No. 23 (S.D.N.Y. Aug. 7, 2020) (“Quirk

Opp.”). Further, the OAG argued that “no COVID-19 protection regime is or can be perfect,” and

courts should not rely on “unsupported and inflammatory assertions about safety,”

“unaccompanied by supporting evidence,” and “contradicted by the evidence supplied by the

[employer].” Id. at 19, 21. Amazon agrees.

       15.     More fundamental than applying an inconsistent and incorrect standard, the OAG

lacks the legal authority it purports to wield against Amazon. The federal OSH Act preempts the

OAG’s use of state law to regulate workplace safety, and, as this Court has already held in litigation

brought by Mr. Palmer concerning the very subject matter of the OAG’s investigation, OSHA has

primary jurisdiction over workplace safety claims brought under New York Labor Law Section

200. Moreover, the National Labor Relations Act (“NLRA”) preempts the OAG’s claims that

Amazon retaliated against Mr. Smalls and Mr. Palmer for organizing and participating in protests

regarding working conditions at JFK8, and the U.S. National Labor Relations Board (“NLRB”)

has authority for enforcement of this federal law. Even if the New York Labor Law were not

preempted in these circumstances, the Labor Law provisions on which the OAG relies create only

a private right of action by the individual who is the victim of the alleged retaliation—and here,

Mr. Smalls and Mr. Palmer are already pursuing their own private actions with their own counsel.

       16.     Finally, in making its demands, the OAG fails to recognize the significant ways in

which Amazon has addressed and continues to address the OAG’s purported concerns. Amazon

has invested approximately $10 billion on COVID-related initiatives to keep associates safe and

deliver essential products to customers, including $800 million in the first half of 2020 alone on



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COVID-19 safety measures. Amazon already voluntarily offered to provide subsidized bus service

to the MTA, but the MTA rejected Amazon’s offer. Amazon already modified its production

speeds and performance requirements to accommodate COVID-19 safety measures. And Amazon

already retained some of the world’s leading experts to inform the company’s efforts to address

the threat posed by COVID-19.

       17.     Amazon cannot accept the OAG’s attempt to subject Amazon to an inconsistent

and unfair standard for workplace safety that is preempted by federal law and assigned to the

primary jurisdiction of federal regulators—especially when the underlying facts show that Amazon

has done an exemplary job responding to an unprecedented global pandemic. Since the start of

the OAG’s investigation, Amazon has been open and transparent with the OAG about Amazon’s

response to the COVID-19 pandemic and its actions against Mr. Smalls and Mr. Palmer. Amazon

shared voluminous information with the OAG in a good-faith effort to address the OAG’s

concerns, even though the OAG lacked jurisdiction to regulate workplace health and safety and

employees’ concerted activities. Amazon is proud of the measures it has taken to protect the health

and safety of its workers. But now, the OAG, without jurisdiction, is demanding relief that is not

appropriate or warranted and is threatening to publicly sue if Amazon does not submit to the

OAG’s unreasonable terms. The OAG’s threats and unwarranted demands are not tethered to the

facts or the law, and thus Amazon must now seek relief in this Court.

       18.     The federal courts have both the jurisdiction and the authority to enjoin the OAG

from usurping powers created by federal law and reserved to federal regulators. “A plaintiff who

seeks injunctive relief from state regulation, on the ground that such regulation is pre-empted by a

federal statute which, by virtue of the Supremacy Clause of the Constitution, must prevail, thus

presents a federal question which the federal courts have jurisdiction . . . to resolve.” Cable



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Television Ass’n of N.Y., Inc. v. Finneran, 954 F.2d 91, 94 (2d Cir. 1992) (quotation marks

omitted). This lawsuit therefore seeks a declaration that, as applied to the facts of this case, the

state laws that the OAG seeks to enforce are preempted by federal law and an injunction against

the OAG’s ongoing misuse of those laws against Amazon.

                                                PARTIES

       19.     Plaintiff Amazon.com, Inc. is a Delaware corporation with its principal place of

business in Seattle, Washington.

       20.     Defendant Letitia James is the Attorney General of the State of New York. She is

sued in her official capacity.

                                    JURISDICTION AND VENUE

       21.     This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

and 28 U.S.C. § 1343(a)(3). This action arises under the Supremacy Clause of the United States

Constitution, the OSH Act, 29 U.S.C. § 651 et seq., the NLRA, 29 U.S.C. § 151 et seq., and the

Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

       22.     Because Amazon “seeks injunctive relief from state regulation, on the ground that

such regulation is pre-empted by a federal statute,” it has “present[ed] a federal question which the

federal courts have jurisdiction under 28 U.S.C. § 1331 to resolve.” Shaw v. Delta Air Lines, Inc.,

463 U.S. 85, 96 n.14 (1983); see also Cable Television Ass’n of N.Y., Inc. v. Finneran, 954 F.2d

91, 93-95 (2d Cir. 1992) (concluding that district court had subject matter jurisdiction over action

seeking a declaration that state regulation “was pre-empted by [federal law]” and “an injunction

barring the state from enforcing the regulation”).




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       23.     To the extent this action raises questions regarding the New York Labor Law or the

New York Workers’ Compensation Law, this Court has supplemental jurisdiction under 28 U.S.C.

§ 1367(a).

       24.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to Amazon’s claims occurred in this District.

                                  STATEMENT OF THE CASE

       25.     As the Eastern District of New York has recognized, “[r]egulating in the age of

COVID-19 is a dynamic and fact-intensive matter fraught with medical and scientific uncertainty.”

Palmer v. Amazon.com, Inc., No. 20-cv-2468 (BMC), --- F. Supp. 3d ---, 2020 WL 6388599, at *6

(E.D.N.Y. Nov. 2, 2020). Because “[t]here is room for significant disagreement as to the necessity

or wisdom of any particular workplace policy or practice,” “[c]ourt-imposed workplace policies

could subject the industry to vastly different, costly regulatory schemes in a time of economic

crisis.” Id. As a result, the court has held that “[c]ourts are particularly ill-suited to address this

evolving situation” and that it was for OSHA, not the courts, to “strike a balance between

maintaining some level of operations in conjunction with some level of protective measures.” Id.

       26.     With respect to Amazon specifically, the Eastern District of New York recognized

that Amazon’s “JFK8 [facility] is not the source of COVID-19,” and that “[t]he public at large

cannot avoid COVID-19 simply by avoiding JFK8, its immediate surrounding area, and its

employees.” Palmer, 2020 WL 6388599, at *7. Rather, “the public risks exposing themselves to

COVID-19 nearly anywhere in this country and the world.” Id.

       27.     Despite this clear precedent regarding the nature of the threat posed by COVID-19

and the primary role of federal regulators in combatting this threat, the OAG seeks to penalize

Amazon—without a legal or factual basis—based on an alleged failure to meet a standard for



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workplace health and safety that OAG does not even use when evaluating New York State’s own

response to the COVID-19 pandemic.

   A. Amazon Has Taken Above-And-Beyond Measures To Protect Associates In
      Response To COVID-19.

Amazon Quickly And Proactively Committed Substantial Resources To Developing And
Implementing Extensive Health And Safety Measures Based On Guidance From Experts.

       28.     Amazon is an essential business whose continued operation during the COVID-19

pandemic is critical to allowing New Yorkers and others to obtain the necessities to sustain their

lives, protect their health, and adhere to stay-at-home guidelines. Amazon also provides much-

needed employment to many people in its communities.

       29.     Amazon strives to protect its associates as they continue providing a critical service

to their fellow Americans. In order to do so effectively, Amazon quickly adjusted its processes

and procedures, and designed and implemented numerous new processes and procedures, to

respond to the novel and evolving threat of COVID-19.

       30.     Amazon’s health and safety effort has been grounded in science and led by top

health and safety professionals who oversee a 5,000-member global safety team.

       31.     Since the onset of the COVID-19 pandemic, Amazon’s team of experts has

consulted with, reached out to, and been guided by global and national groups, such as the World

Health Organization (“WHO”) and the Centers for Disease Control and Prevention (“CDC”), as

well as state and local health departments in order to implement Amazon’s workplace pandemic

response as quickly as possible and to develop and implement best in class policies and procedures.

       32.     In addition, Amazon has engaged over 20 of the foremost global medical experts

(including pandemic response doctors, epidemiologists, and industrial hygienists) to assist in

identifying and implementing appropriate measures to protect its associates, well exceeding

government health guidelines and requirements.
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       33.      Amazon also retained experts on industrial hygiene. Through this engagement,

Amazon received advice, consultations, and feedback on multiple health and safety initiatives

including temperature screening checks, mask usage, its disinfectant spraying program, and its

COVID-19 testing program for all associates.

       34.      These experts have provided ongoing guidance and information regarding

transmission risk; confirmed case management; contact tracing, cleaning and disinfecting

programs; temperature verification and symptom screening; and testing. They have informed

Amazon’s communications to associates regarding COVID-19; completed toxicology reviews of

select cleaning and disinfecting products in order to limit any risk to associates’ health posed by

Amazon’s enhanced cleaning measures; and provided additional on-the-ground support as

Amazon implements or adjusts health and safety measures in response to new guidelines and best

practices.

       35.      Based on guidance from these experts and authorities, as discussed further below,

Amazon implemented over 150 significant process changes at its facilities in order to enhance

workplace health and safety.

       36.      Amazon proactively implemented these extensive health and safety measures

against the background of ever-changing medical guidance and evolving understandings of how

COVID-19 was spread.

       37.      Amazon has invested approximately $10 billion on COVID-related initiatives

aimed at keeping associates safe and deliver essential products to customers. This includes

spending more than $800 million in the first half of 2020 alone on COVID-19 safety measures,

including:

            Providing more than 100 million masks to Amazon’s associates at distribution sites;



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             Adding 2,298 handwashing stations;

             Adding more than 5,750 janitorial team members;

             Providing an additional 34 million gloves;

             Adding 48 million ounces of hand sanitizer;

             Adding 93 million sanitizing sprays and wipes;

             Installing more than 1,100 thermal cameras; and

             Building scalable capacity to test for coronavirus.

        38.      In short, Amazon has been a global leader in workplace safety during this

unprecedented pandemic, following the guidance and advice of public health experts and

organizations early on and investing in protecting the health of its associates.

Amazon Took Early Action To Increase The Frequency And Scope Of Its Cleaning Processes
To Protect Its Associates From The Emerging Threat Of COVID-19.

        39.      Even before the COVID-19 pandemic, Amazon had in place extensive cleaning

procedures at its facilities to ensure a safe and sanitary workplace. In December 2019, Amazon

implemented new cleaning procedures at all of its sites, including JFK8 and DBK1, pursuant to

which Amazon regularly disinfected all door handles, handrails, lockers, and other “high touch”

surfaces. Amazon later increased and supplemented these cleaning procedures in response to

COVID-19.

        40.      Starting on or about March 2, 2020, Amazon added almost 200 high-contact

surfaces to its regular cleaning and disinfection protocols and has significantly increased the

frequency at which breakroom and restroom surfaces are cleaned so that they are cleaned six to

eight times per shift, which is approximately every 75 minutes. In order to implement these

enhanced cleaning and disinfection protocols, Amazon also significantly increased the size of the

janitorial teams that clean its sites.

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       41.     On March 5, when the COVID-19 threat began to emerge, Amazon began

conducting janitorial audits at each site to ensure that the enhanced cleaning and disinfection

protocols are being properly implemented. The individual performing the audit must complete a

checklist with more than 30 prompts to confirm compliance with various aspects of the enhanced

cleaning protocol, and at least one janitorial audit is performed per each shift.

       42.     Amazon’s JFK8 fulfillment center on Staten Island—the facility on which the OAG

has centered its purported investigation of Amazon’s response to the COVID-19 pandemic—

illustrates the extensive lengths to which Amazon has gone to ensure its facilities are clean.

       43.     JFK8 is an 857,388 square foot facility—the size of more than 15 football fields—

and more than 5,000 Amazon associates work there. In addition to the warehouse space on the

ground floor, there are three additional floors within the facility where associates ship and receive

hundreds of thousands of products each day. JFK8 has a total of 1,003 separate physical stations

where associates work.

       44.     At JFK8, Amazon tripled the size of its cleaning teams in order to implement these

enhanced cleaning protocols and to enable the teams to cover the 200 additional points of contact

that are now regularly sanitized.

       45.     On April 6, as part of a pilot program at JFK8, Amazon also adopted disinfectant

spraying (also referred to as “misting”), which is a deep cleaning practice commonly used by

hospitals and airlines. This disinfectant spraying process effectively coats the entire surface of the

area being treated with disinfectant, including around any curves or bends in handles, and

disinfects difficult-to-clean surfaces around the facility.

       46.     On April 27, Amazon began daily disinfectant spraying throughout the entire JFK8

facility. An Amazon-approved third-party vendor applies the disinfectant spray to sanitize all



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areas of the facility (including stairways, breakrooms, and all associate workstations) and all

equipment (including totes, pallet jacks, and carts) every 24 hours.

Amazon Implemented Routine Temperature Checks In Advance Of Guidance From The CDC
To Quickly Identify And Address Potential Occurrences Of COVID-19.

       47.     On March 29, Amazon began on-site temperature checks at select sites around the

United States, including JFK8, in an effort to ensure that associates and support staff do not have

an elevated temperature—one of the primary COVID-19 indicators that can be objectively

measured—when they arrive at work. This program complemented other measures mandating

that associates stay home if they are not feeling well, including signs posted at entrances directing




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associates not to enter the facility and to go home if, among other things, they are experiencing

symptoms like coughing or shortness of breath:



   Do not enter if:
             You are living with someone
             who has COVID-19 and have medical
             advice not to be at work.


             You have a temperature of 100.4°F
             (38°() or higher.                              Here's what to do:
             You are in a 14-day period of                  • Do not enter. Move away from the entrance area

    [}       self-isolation directed by a
             healthcare provider or health official.
                                                              and go home.




              You have travelled to another                 • Contact the ERC, or your HR team, DSP, or
              country in the last 14 days.                    support team to notify them of the situation.



              You currently have a cough,                   If you need medical assistance, let your medical
              or shortness of breath.                       provider know you have or may have COVID- 19
                                                            before you arrive.


       48.     Amazon subsequently expanded this temperature screening program to its entire

U.S. operations network, including DBK1, and Amazon began checking the temperatures of

hundreds of thousands of individuals each day. By April 30, 2020, Amazon had purchased more

than 1,000 thermal cameras and 31,000 thermometers to conduct these temperature checks.

       49.     Under the temperature screening program, anyone registering a temperature over

100.4 ºF (or lower where required by state or local authorities) is directed to return home and only

come back to work after they have gone three days without a fever, in line with CDC

recommendations.




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         50.   Amazon established this program more than a week before the CDC issued

guidance recommending temperature checks as one condition for permitting critical infrastructure

workers to continue work following a potential exposure to COVID-19. Even then, the CDC did

not go so far as to recommend checks for all individuals regardless of known exposure.2 Indeed,

the CDC still states that “[s]creening employees is an optional strategy that employers may use.”3

Similarly, although New York requires that employers “screen” employees, “[w]orkplaces are not

required to check employee temperatures.”4 This is one of many examples of Amazon’s COVID-

19 safety measures that go “above and beyond” any government requirements or guidance.

Amazon Modified Its Leave Policies In Advance Of Changes To New York State Law In Order
To Allow Associates To Focus On Their Health And Families.

         51.   On March 6, 2020, Amazon temporarily modified its unpaid time off policy to

provide associates with unlimited unpaid time off to ease pandemic-related burdens such as school

closures, short absences, or other exigencies. While Amazon has now returned to its ordinary

unpaid time off program, it continues to offer many other forms of paid and unpaid leave for

associates.

         52.   On March 11, Amazon also established a COVID-19 paid leave program through

which associates placed into quarantine or diagnosed with COVID-19 receive up to two weeks of


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  CDC, Interim Guidance for Implementing Safety Practices for Critical Infrastructure Workers
Who May Have Had Exposure to a Person with Suspected or Confirmed COVID-19 (Apr. 8, 2020),
https://www.cdc.gov/coronavirus/2019-ncov/downloads/critical-workers-implementing-safety-
practices.pdf.
3
  CDC, FAQs for Workplaces & Businesses (Should we be screening employees for COVID-19
symptoms (such as temperature checks?)) (Feb. 1, 2021), https://www.cdc.gov/coronavirus/2019-
ncov/community/general-business-faq.html.
4
   NYC311, Coronavirus (COVD-19) Worker Symptoms Screening (Temperature Checks),
https://portal.311.nyc.gov/article/?kanumber=KA-03314; see also N.Y. Exec. Order 202.38
(“[C]ommercial building owners . . . shall have the discretion to require individuals to undergo
temperature checks prior to being allowed admittance.”).

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additional paid time off so they can focus on their health and not lost income. This COVID-related

paid time off does not count against the associates’ paid and unpaid time-off accruals.

         53.   Amazon asks these associates to stay away from their work site, to watch for

symptoms, and to seek medical attention if they experience any symptoms. Members of Amazon’s

Human Resources Department will check on the associate’s wellness during this quarantine period.

         54.   Amazon established this program seven days before New York Governor Andrew

Cuomo signed emergency legislation requiring employers with more than 100 employees to

provide paid sick leave to employees who need to take leave because they are under a mandatory

or precautionary order of quarantine or isolation due to COVID-19.5

Amazon Developed A Contact Tracing Process That Goes Above And Beyond Regulators’
Expectations Of Employers.

         55.   Amazon began contact tracing in February 2020, and, on March 20, Amazon

formalized its contact tracing process.

         56.   Under its current policy, for each confirmed or presumptive case that meets certain

criteria, Amazon uses interviews and/or video review to identify who at Amazon may have had

“close contact” with the diagnosed individual. Associates identified as a close contact are directed

to remain home from work for 14 days from the last date of exposure (or a longer period if directed

by a Local Health Authority (“LHA”)). This policy is consistent with CDC guidance, which states

that “[q]uarantine is used to keep someone who might have been exposed to COVID-19 away from

others.”

         57.   Associates directed to quarantine in this manner receive special pay, with full-time

associates receiving 80 hours of base pay.


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   See New York State, Paid Sick Leave for COVID-19 Impacted New Yorkers,
https://www.governor.ny.gov/programs/paid-sick-leave-covid-19-impacted-new-yorkers.

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         58.    Following confirmation of a positive COVID-19 diagnosis, Amazon notifies all

associates at the site of the diagnosis either through text or other electronic notifications, or through

small-group, in-person discussions with management that comply with social distancing

guidelines.

         59.    As the CDC explains, “[h]ealth departments are responsible for leading case

investigations, contact tracing, and outbreak investigations.”         It is “not typical” for health

departments to “rely on the employer to identify workplace contacts.”6 Guidance from New York

State and New York City similarly makes clear that LHAs are primarily responsible for contact

tracing.

         60.    In other words, Amazon’s decision to conduct contact tracing is going above and

beyond what is required and benefits all New Yorkers, especially given that in the initial months

of the pandemic LHAs were not set up to handle contact tracing and lacked the necessary resources

to do so.

Amazon Took Extensive Steps To Facilitate Social Distancing Before The Social Distancing
Requirements In New York Governor Cuomo’s PAUSE Executive Order Took Effect.

         61.    On March 17, Amazon implemented a three-foot social distancing policy based on

then-current guidance from the WHO.7 The policy required all associates to maintain at least three




6
  CDC, Case Investigation and Contact Tracing in Non-healthcare Workplaces: Information for
Employers (Oct. 22, 2020), https://www.cdc.gov/coronavirus/2019-ncov/community/contact-
tracing-nonhealthcare-workplaces.html.
7
   World Health Organization, Coronavirus Disease (COVID-19) Advice for the Public,
https://www.who.int/emergencies/diseases/novel-coronavirus-2019/advice-for-public (“Maintain
at least a 1-metre distance between yourself and others.”).


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feet of distance from each other at all times. Amazon changed this policy to require six feet of

social distancing on March 20.

         62.      Amazon implemented its six-foot social distancing policy two days before

Governor Cuomo’s PAUSE executive order became effective and required “[b]usinesses and

entities that provide other essential services [to] implement rules that help facilitate social

distancing of at least six feet.”8

         63.      From March 15 to March 22, Amazon implemented a series of additional measures

designed to facilitate social distancing at JFK8. These measures included:

         a. Temporarily suspending its exit screening policy to allow associates to leave JFK8

               without undergoing screening;

         b. Eliminating all in-person stand-up meetings, during which associates and supervisors

               address safety tips, success stories, and other information, and replacing these meetings

               with other methods of communication, such as mobile applications, broadcasts to

               associate workstations, and emails;

         c. Expanding and modifying break areas and posting notices to facilitate compliance;

         d. Extending regular break times from 15 minutes to 20 minutes to ensure that associates

               have sufficient time to wash their hands and to clean their workstations;

         e. Staggering the start times of associates’ shifts by 15-minute intervals in order to reduce

               the number of associates entering the facility at the same time;




8
 See Gov. Andrew Cuomo, Governor Cuomo Issues Guidance on Essential Services Under The
‘New      York    State   on      PAUSE’    Executive    Order     (Mar.      20,    2020),
https://www.governor.ny.gov/news/governor-cuomo-issues-guidance-essential-services-under-
new-york-state-pause-executive-order.

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       f. Posting six-foot visual indicators at locations around the building, including time

             clocks, desks, and security turnstiles; and

       g. Modifying its new-hire orientation, onboarding, and first-day processes to facilitate

             social distancing.

       64.      Amazon made several other changes to JFK8’s layout to further facilitate social

distancing, including:

       a. Shutting down every other workstation in the packing department;

       b. Adding 17 satellite breakrooms in addition to the five permanent break areas;

       c. Removing breakroom furniture to ensure that all seats are six feet apart and adding

             barriers to separate microwave ovens;

       d. Fastening chairs to tables so no more than two people could sit at any single six-foot

             breakroom table;

       e. Creating three additional exits to minimize crowding at the exits at the end of shifts;

       f. Converting certain areas of JFK8 into one-way walking paths to reduce crowding; and

       g. Installing dividers in each of the 38 bathrooms at JFK8.

       65.      At DBK1, Amazon similarly canceled stand up meetings, redesigned its

breakroom, locker room, and offices and added taped locations to indicate six-foot spacing. The

site also designated social distancing “champions” who were focused on enforcing social

distancing. The champions would circulate through the facility with a six-foot-wide visual

indicator to make sure people were standing six feet away from each other.

       66.      On April 9, Amazon’s “A to Z Web Punch” feature went live at all U.S. Amazon

Operations businesses. This mobile application permits associates to clock in and out on their cell

phones in order to prevent queuing at time clocks.



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       67.     On April 17, Amazon announced staggered break schedules to minimize crowding

of shared spaces such as breakrooms and time clocks.

       68.     An extensive campaign to educate associates regarding social distancing was

implemented in parallel with these measures. Amazon created educational materials for associates

in more than 20 different languages. In fulfillment centers like JFK8, Amazon has posted

directional and spatial signage and markings throughout the fulfillment center to further provide

guidance and ensure adherence to social distancing requirements. Amazon also designated site

leaders who are dedicated to promoting social distancing throughout the site in order to convey

the importance of and Amazon’s commitment to social distancing.

       69.     In order to enforce social distancing, Amazon clearly communicates its

expectations regarding social distancing to associates through multiple means.                These

communications initially included direct, verbal instructions from managers, and eventually also

included posters and signs throughout the facility stating that failure to maintain social distancing

“will result in disciplinary action”:



                      Social Distancing
                      is Required
                      in all locations within the building
                      including break and prayer rooms, and
                      other high traffic areas.

                      • 2m/6ft is required
                      • Do not move chairs and tables
                      • Compliance will be enforced


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                   Must Read:
                   Social Distancing Violations
                   Violations of social distancing, as advised by the CDC
                   and Amazon leadership, will result in disciolinarv action.

                   Social distancing is expected to be adhered to both inside
                   and outside of Amazon facilities to ensure the health of
                   its employees.

                   You have the responsibility to report violations
                   and immediately notify a member of leadership or HR.
                   If you see something, say something.


       70.     Amazon has also worked to develop cutting-edge machine learning tools to enhance

and further direct the company’s social distancing efforts. For example, Amazon launched its

Proxemics initiative, which uses artificial intelligence to analyze camera footage in Amazon’s

buildings and to identify images showing individuals who are too close to one another. Data from

the Proxemics Initiative has helped Amazon identify locations where there are additional

opportunities to facilitate social distancing, such as installing additional plastic barriers between

workstations or adjusting walking lines marked in tape. Amazon has successfully used data from

the Proxemics initiative at JFK8.

Amazon Began Distributing Face Masks In Advance Of New York State Requirements And
Imposed More Stringent Rules Regarding Use Of Face Coverings Than New York State.

       71.     On April 5, Amazon began distributing face masks to all associates at JFK8.

       72.     Beginning on April 15, Amazon required a face mask or face covering to be worn

by anyone entering Amazon facilities, including JFK8 and DBK1, and by all associates and

partners throughout their shift, including those on the road.

       73.     Amazon took these steps with respect to face masks or face coverings in advance

of New York State Governor Andrew Cuomo’s executive orders:

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 Amazon’s Protective Measures                  New York State Executive Orders

 April 5 – Amazon begins distributing          April 12 – Governor Cuomo directs essential
 face masks to all associates at JFK8.         businesses to “provide[] . . . face coverings” to
                                               employees “in direct contact with customers or
                                               members of the public.” N.Y. Exec. Order 202.16.

 April 15 - Amazon requires everyone           April 17 – Governor Cuomo requires individuals
 entering Amazon Operations locations          “to cover their nose and mouth with a mask or cloth
 as well as all employees and partners         face-covering when in a public place and unable to
 throughout their shift, including those       maintain, or when not maintaining, social
 on the road, to wear face masks or face       distance.” N.Y. Exec. Order 202.17.
 coverings.


       74.      Amazon’s policies and procedures also afforded its associates greater protections

than those set forth in the Executive Orders because they required face coverings to be worn at all

times even when social distancing could be, and was, maintained.

       75.      Amazon currently distributes thousands of medical masks (which include

instructions for use) to associates daily and also distributes two reusable cloth masks to each

associate every 30 days. Any associate who needs a mask has access to one free of charge at all

relevant times. Amazon allows associates to take additional masks home for their families.

       76.      Amazon reviews the supply of masks and gloves on site daily to ensure that there

is at least a 10-day supply on hand at JFK8.

       77.      Since April 5, Amazon has maintained a constant and abundant supply of face

masks on site at JFK8. In fact, at one point, Amazon had a supply of more than one million face

masks at JFK8. JFK8 donated surplus masks to New York City law enforcement officers who did

not have adequate supplies.

       78.      In addition, Amazon instructs all associates to immediately notify management if

gloves and masks are unavailable or supplies are close to running out on the floor so Amazon can

restock them.


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Amazon Provided Associates Hand Sanitizer And Cleaning Supplies To Protect Against
COVID-19.

        79.     On February 29, 2020, Amazon posted signs throughout JFK8 encouraging all

associates to wash their hands with soap and water for at least 20 seconds, and if soap and water

is not readily available, to use hand sanitizer with at least 60% alcohol content:

                      The best waf to erevent the spread of
                      germs and virus IS by fr quently ashing our
                      hands. I is recommended to wash before ea ing, en
                       ·nished u in h r s room nd a er sn ezing or
                      coughing. U hand sanitizer when handwash,ng is
                      un vailabte. ake i a good habi !


                                      Wat both hands                    RlnHwell
                                      withwat r                         with fresh
                                                                        water




                       2              Apply soap and                    Dry hands
                                      lathar for at                     withto-lor
                                      lent 20 seconds                   dryer




        80.     JFK8, like all Amazon facilities, has hand sanitizer available for associates at each

turnstile at all entrances and exits to the facility, and there are signs posted at the turnstiles directing

associates to sanitize their hands as they pass through. In addition, Amazon has installed over 100

hand-sanitizing stations throughout JFK8 to ensure that associates can quickly and efficiently clean

their hands.

        81.     Amazon refills the hand-sanitizing stations at JFK8 on a regular basis. The

procurement team checks all of the hand-sanitizing dispensers in the facility and if any dispensers

are running low or are empty, the procurement team arranges for those dispensers to be promptly

refilled.

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       82.      In addition, in response to the COVID-19 pandemic, Amazon has installed over

450 “Sanitation Stations” that contain cleaning supplies, such as disinfecting wipes and bottles of

disinfectant spray, throughout JFK8.

       83.      There are two types of sanitation stations:

             a. Six-foot tables stocked with cleaning supplies (including heavy-duty sanitizing

                wipes, bottles of disinfectant spray, and paper towels) for all associates to take and

                use. These larger Sanitation Stations are strategically located throughout the

                facility to ensure that associates can easily and quickly access the cleaning supplies

                they need while they are working.

             b. Smaller stations including, for example, containers of cleaning supplies attached to

                individual workstations.

       84.      Associates are encouraged to take as many disinfecting wipes and cleaning supplies

as they need:




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                   Routine
                  Work Stations
                  Cleaning Guide

                               When using shared equipment:
                               To stop the spread of germs, use
                               cleaning/disinfectant wipes and take
                               a moment to clean equipment before
                               and after you use it.


                                Clean shared and personal
                                equipment, such as,
                               •    Telephones        •   Pallet Jack Handles
                               •    Hand Scanners     •   Power Industrial Trucks
                               •    Keyboards         •   Tape Dispensers
                               •    Countertops       •   Label Makers
                               •    Computer Mouse    •   Radios
                               •    Touch Screens     •   Carts

       85.     Amazon regularly audits its stock of cleaning supplies and hand sanitizer to make

sure sufficient supplies are on site at JFK8. Amazon’s procurement team conducts two “Sanitation

Supply” audits per 10-hour shift.

       86.     Amazon’s procurement team also does a daily count of the number of disinfecting

wipes and other cleaning supplies at JFK8. Under Amazon’s sanitation supply procedures, the

procurement team is notified if the stock of wipes or hand sanitizer at JFK8 drops below 10 days

of supply on hand to ensure that associates have access to the supplies that they need.




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Amazon Modified Its Procedures For Measuring Productivity To Account For The Time
Needed To Adhere To Amazon’s Health And Safety Measures.

       87.     On March 18, Amazon ceased providing feedback to associates based on their

productivity rates, as measured by the units per hour that the associate processed, and ceased taking

any action against employees as a result of extremely low productivity rates.

       88.     On April 29, Amazon indefinitely extended the cessation of productivity rate

feedback to associates and stopped taking any action against employees as a result of extremely

low productivity rates.

       89.     Amazon provided talking points to managers so that they could communicate these

changes to associates.

       90.     In addition, on July 13, JFK8’s general manager sent an email to all JFK8 associates

reaffirming that Amazon “temporarily suspended [its] productivity feedback and provided

additional time during breaks so that associates can maintain a safe environment through social

distancing, hand washing, sanitizing work stations, and using the restroom.”

       91.     On July 13, Amazon also displayed a poster at JFK8 with the same message

regarding productivity feedback as the email from JFK8’s general manager.

       92.     Amazon suspended this part of its performance management process in order to

determine what, if any, changes were needed in light of COVID-19. In October 2020, Amazon

implemented revised measures that take into account the amount of time necessary to engage in

the health and safety practices that Amazon has put in place since the onset of the pandemic.

       93.     Amazon’s productivity goal is now based on JFK8 associates’ average productivity

performance during the month of September—when productivity goals were suspended—and

allows enough time for associates to wash their hands, clean their stations, and maintain social

distancing. Further, Amazon continued its longstanding policy that the time spent by associates


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using the bathroom and washing their hands would not count as time spent off an assigned task.

Amazon also reduced the number of associates even eligible for feedback based on productivity

to the bottom three percent of performers. This revised policy reflects a reasonable COVID-19-

era productivity goal that allows associates to prioritize safety.

Amazon Developed Its COVID-19 Testing Capacity And Regularly Tests Associates For
COVID-19.

          94.   In addition to the other safety measures described above, Amazon initiated a testing

program for its associates to further enhance workplace safety.

          95.   When it became clear in March 2020 that testing Amazon associates for COVID-

19 was going to be of critical importance, Amazon assembled a multidisciplinary task force—

ranging from research scientists and program managers to procurement specialists and software

engineers—and reassigned them from their normal positions within Amazon so that they could

focus on this initiative.

          96.   Amazon also hired dozens of lab technicians to build a world-class laboratory team.

In October 2020, Amazon launched its testing program, quickly ramping up to conduct tens of

thousands of tests each day across 650 sites, including JFK8, as part of its effort to keep Amazon’s

associates safe.

          97.   Amazon invested hundreds of millions of dollars in this initiative to build this

testing capacity internally. This means that not only are Amazon associates provided tests free of

charge, but the company is adding to the total number of tests available—not taking supply from

others.

          98.   Amazon now tests more than 700 employees every hour, and Amazon’s COVID-

19 labs have processed more than one million tests globally.




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        99.     At the JFK8 facility alone, during a single week in mid-December, Amazon

conducted 461 self-administered PCR tests. By mid-December, the JFK8 facility alone was

approaching 2,000 total tests administered.

        100.    At the JFK8 facility, testing is available to all Amazon associates every day except

Saturday, and there is a registered nurse onsite, as well as videos and visuals, to guide associates

in self-administration. Amazon is working to add testing capacity on Saturday, as well as testing

for contractors such as security guards and janitors. Since instituting testing, the JFK8 facility has

never faced a shortage of tests and has been able to provide any associate with a test who wanted

one.

        101.    Associates are paid for time spent on testing. Taking time to get tested does not

count towards productivity, and associates do not need to schedule testing during their breaks.

        102.    Amazon publicizes its free testing resources throughout the JFK8 facility and

encourages associates to get tested at least every two weeks. Associates are reminded of the testing

resources at the facility on a daily basis through the electronic communications they receive when

they log into their shifts.

        103.    As a result of Amazon’s testing capacity, Amazon has the ability to identify even

asymptomatic cases of COVID-19, which, in conjunction with Amazon’s contact trace and

quarantine procedures and paid leave program, further reduces the risk of COVID-19 spreading

through Amazon’s facilities.

        104.    Amazon also has a partnership with Grand Rounds, which is a third-party medical

provider that offers telehealth services. Amazon associates can receive telehealth consultations

from Grand Rounds at no cost, and Grand Rounds’ medical staff is available 24/7 to provide

associates with up-to-the-minute support.



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           105.   As an additional resource, Amazon launched a program in December 2020 which

connects associates experiencing COVID-19 symptoms with free offsite COVID-19 testing

options.

           106.   In addition to testing, Amazon is working to ensure that its front-line associates

receive vaccines as soon as possible by advocating on behalf of its associates and working in

partnership with global medical experts, governments, and health providers to accelerate

vaccination programs.

           107.   On January 20, 2021, Dave Clark, the CEO of Amazon’s Worldwide Consumer

business, wrote to President Biden noting the important role Amazon associates “played to help

customers stay safe and receive important products and services at home” and requesting that the

“essential employees working at Amazon fulfillment centers, AWS data centers, and Whole Foods

Market stores across the country who cannot work from home . . . receive the COVID-19 vaccine

at the earliest appropriate time.”9

           108.   Mr. Clark also informed President Biden that Amazon was “prepared to leverage

[its] operations, information technology, and communications capabilities and expertise to assist

[the Biden] administration’s vaccination efforts.” Amazon has an agreement in place with a

licensed third-party occupational health care provider to administer vaccines on-site at its Amazon

facilities and is prepared to move quickly once vaccines are available.10




9
  Dave Clark, Amazon Congratulates President Biden and Vice President Harris; Lends Support
to Vaccinating Americans (Jan. 20, 2021), https://www.aboutamazon.com/news/policy-news-
views/amazon-congratulates-president-biden-and-vice-president-harris-lends-support-to-
vaccinating-americans.
10
     Id.


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       109.    Mr. Clark’s January 20 letter to President Biden followed an earlier letter to the

CDC’s Advisory Committee on Immunization Practices with a similar request that the CDC

“prioritize . . . essential workers who cannot work from home, like those working at Amazon

fulfillment centers, AWS data centers, and Whole Foods Market stores, to receive the COVID-19

vaccine at the earliest appropriate time.”11

Amazon Constantly Communicates Health And Safety Protocols.

       110.    Amazon communicates new policies and process changes implemented in response

to COVID-19 to JFK8’s associates through a variety of means, including text message updates,

emails, Amazon’s “A to Z” mobile application, posters, bulletin boards, and scrolling messages

on TVs throughout the facility.

       111.    Amazon’s Workplace Health and Safety team at JFK8 has also conducted

thousands of socially-distanced one-on-one engagements with associates about Amazon’s health

and safety policies, such as reminding associates of Amazon’s policy requiring all associates to

wear face masks or face coverings and encouraging associates to clock in and out via Amazon’s

“A to Z” mobile application in order to minimize crowding at time clocks. The same team has

also conducted over 2,000 socially-distanced individual meetings with new associates at JFK8 in

which it explained Amazon’s health and safety policies.

       112.    In addition, since mid-April, JFK8’s general manager has sent a weekly email,

called “inSITES,” to all JFK8 associates that provides updates about the site’s health and safety

efforts. Each weekly inSITES email describes specific safety actions that JFK8 has taken in the


11
   Dave Clark, Letter to Dr. Jose R. Romero, Chairman, Advisory Committee on Immunization
Practices, COVID-19 Vaccine Prioritization, Distribution and Administration, Docket No. CDC-
2020-0124                                    (Dec.                 16,                 2020),
https://assets.aboutamazon.com/fd/38/180064794afc9ff02c157ac68e0d/acip-letter-
12.16.2020.pdf.

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past week, provides COVID-19 safety tips and reminders, and shares success stories of associates

and managers from the previous week.

       113.      Amazon also distributes recorded video messages to JFK8 associates explaining,

for example, how to navigate the facility under new policy changes and social distancing

requirements. These video messages are distributed to associates through Amazon’s internal

broadcast platform.

Amazon’s Robust Health And Safety Measures Have Been Effective In Protecting Its
Associates From The Threat Of COVID-19.

       114.      On October 1, 2020, Amazon publicly released a state-by-state comparison of the

COVID-19 infection rate among Amazon and Whole Foods Market associates to the infection rate

of the general population. This release was part of Amazon’s efforts to maintain transparency and

inform associates and the communities in which Amazon operates about how COVID-19 affects

its workforce.

       115.      Amazon took this step even though case rates, standing alone, are not a useful

indicator of the efficacy of the health and safety measures Amazon has implemented in response

to COVID-19. This is because case rates, when reviewed in isolation, do not distinguish between

infections that occurred in the community versus those that were work-related, and, obviously, a

positive test does not mean someone became infected as a result of their employment with

Amazon.

       116.      Even with these caveats, the data showed that only 1.15% of Amazon’s and Whole

Foods Market’s front-line employees in New York had tested positive or been presumed positive

for COVID-19—a rate that was 50% less than the rate for New York’s general population at the

time. This comparison, which is just one of many measures of Amazon’s record of success, likely

understates the case rates of Amazon associates relative to New York’s general population because

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not everyone in the general population is screened for symptoms or tested, meaning that the actual

COVID-19 rate for New York is likely more than double the rate among Amazon’s front-line

employees. Accordingly, the infection rate among Amazon’s front-line employees during the

OAG’s investigation—and the statewide data available at the time the OAG threatened to sue—

show that the actual rate of infection among Amazon’s front-line employees is likely less than half

the rate for New York. (This data also suggests that any JFK8 associates who contracted COVID-

19 likely were exposed outside of JFK8, and not in the workplace.)

       117.    The infection rate among Amazon’s front-line employees during the OAG’s

investigation not only compares favorably to the rate among New York’s general population, but

also to the rate among other frontline workers in New York. In May 2020, COVID-19 antibody

testing showed the following rates among frontline workers in New York:12

 Occupation                                       Percent Positive
 Downstate Transit Workers                        14.2%
 Downstate Healthcare Workers                     12.2%
 NYPD                                             10.5%
 FDNY/EMT                                         17.1%
 Department of Corrections Employees              7.5%
 State Police                                     3.1%

       118.    Amazon publicly shared the COVID-19 infection rates among its front-line

employees not only as part of its commitment to transparency with associates, but also because

sharing detailed findings and case rates helps everyone. Wide availability of data would allow

companies, governments, and non-governmental organizations to benchmark progress and share

best practices across businesses and industries. Amazon led the way in this effort to promote




12
   NY Frontline Workers Test Positive for Antibodies at Lower Rates Than Rest of State, NBC
(May 13, 2020), https://www.nbcnewyork.com/news/coronavirus/cuomo-ny-frontline-workers-
test-positive-for-covid-antibodies-at-lower-rate-than-rest-of-state/2415595/.

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transparency and pool information for the greater good, but, unfortunately, few employers have

followed suit.

        119.     On March 31, Mayor Bill DeBlasio announced that the “[New York City]

[S]heriff’s [O]ffice is . . . investigating [entities in New York City] to ensure social distancing is

observed” and “[t]here WILL be penalties for any violations.”13

        120.     In March and April 2020, the New York City Sheriff’s Office conducted multiple

inspections—the first unannounced—of the JFK8 facility to assess the facility’s compliance with

health and safety. Three sworn Sheriff’s Deputies, led by a Sheriff’s lieutenant, inspected the

facility. Following the inspections, the New York City Sheriff’s Office concluded that JFK8

“appeared to go above and beyond the current compliance requirements.” In fact, during the tour,

the lieutenant in charge of the detail conducting the inspection stated that of all the businesses he

had inspected, he had not seen another business put such thorough measures in place to promote

social distancing.

     B. The OAG’s Defense Of New York State’s Response To COVID-19 In Quirk
        Demonstrates That Amazon’s Response Is “Comprehensive,” “Reasonable” and
        “Effective.”

        121.     Despite all of the innovative and proactive measures described above that Amazon

has taken to protect its associates, which far exceed the mandatory requirements, the OAG has

threatened to bring an enforcement action against Amazon for its COVID-19 response. In

criticizing Amazon’s COVID-19 response, however, the OAG applies a more stringent standard

than when defending the State’s own response to COVID-19.




13
   New York City Mayor Bill de Blasio (@NYCMayor), Twitter (Mar. 31, 2020, 5:15 PM),
https://twitter.com/NYCMayor/status/1245097384985714691?s=20.

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        122.    In Quirk v. Difiore, the union representing more than 1,500 New York court officers

filed a putative class action suit against New York Chief Judge Janet DiFiore and New York’s

Office of Court Administration, asserting, among other things, that the defendants failed to

properly sterilize the officers’ work environments, provide sufficient protective equipment, and

establish safety measures, causing some union members to contract COVID-19 and putting others

at risk of infection. Unlike JFK8 and DBK1, which are closed to the public, the New York court

officers work at facilities where they are required to have close contact with the public, putting

them at greater risk than Amazon associates. The state defendants are represented by the OAG in

this lawsuit.

        123.    The Quirk plaintiffs moved for a temporary restraining order or a preliminary

injunction, and the OAG opposed the motion. In its opposition brief, the OAG defended the health

and safety measures the New York State Courts put in place, and stated that “COVID-19 is a threat

to each and every New Yorker”—it is “not a special injury unique” to certain workers. State Br.

19, Quirk v. Difiore, No. 1:20-cv-5027 (S.D.N.Y. Aug. 7, 2020), ECF No. 23 (“Quirk Opp.”).

        124.    In recognition of the pervasive threat that COVID-19 poses, the OAG stated that

“no COVID-19 protection system is fully guaranteed to protect against the virus” and that “no

COVID-19 protection regime is or can be perfect.” Quirk Opp. at 2, 19.

        125.    The OAG nonetheless defended the New York State Courts’ measures to address

COVID-19 as “a comprehensive regime” that was “reasonable, effective, and necessary in

minimizing exposure.” Quirk Opp. at 2.

        126.    Amazon has adopted similar and, in many cases, more extensive protective

measures than those measures the OAG acknowledges were “comprehensive,” “reasonable,




                                                35
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effective, and necessary” when adopted by the New York State Courts in a more dangerous public

environment:

 New York State Courts’ Measure                   Amazon’s Analogous Measures

 Beginning July 6, New York State (“NYS”)         On March 2, Amazon closed JFK8 to the
 Courts required visitors to submit to            public.    On March 29, Amazon began
 temperature screening and questioning upon       conducting daily on-site temperature checks at
 entry into a facility. Beginning July 15, NYS    JFK8 to verify that associates do not have an
 Courts expanded screening and questioning to     elevated temperature when they arrive at the
 judges and non-judicial personnel. If an         facility.
 individual had a temperature greater than
 100.0 °F or answered “yes” to a screening        These actions supplement other measures
 question, court personnel instructed that        requiring associates to stay home and not come
 individual to leave the facility immediately.    to work if they are feeling sick, including work
                                                  rules and signs at the entrances of Amazon’s
                                                  facilities requiring associates to go home if,
                                                  among other things, they are experiencing
                                                  symptoms like coughing or shortness of
                                                  breath.

 On or before May 15, 2020, NYS Courts            Beginning April 15, Amazon required anyone
 required all judges and non-judicial personnel   entering its fulfillment centers to wear a face
 to wear a face mask or covering except when      mask or face covering at all times they are
 in a closed private office.                      inside the facility—not just in designated areas
                                                  or when social distancing is not possible.

 On May 29, NYS Courts                “strongly On February 29, Amazon posted signs
 encouraged” use of hand sanitizer.             throughout JFK8 encouraging all associates to
                                                wash their hands with soap and water for at
                                                least twenty seconds, and if soap and water is
                                                not readily available, to use hand sanitizer with
                                                at least 60% alcohol content.

                                                  Since April 17, all Amazon facilities have hand
                                                  sanitizer available for associates at each
                                                  turnstile at all entrances and exits to the
                                                  facility, and there are signs posted at the
                                                  turnstiles directing associates to sanitize their
                                                  hands as they pass through.
 On May 29, 2020, the NYS Courts directed         On March 17, Amazon implemented a three-
 “[j]udges and nonjudicial personnel . . . to     foot social distancing policy, and changed this
 make every effort to ensure that a distance of   policy to require six feet of social distancing
 at least six feet is maintained from work        on March 20. Amazon took action against
 colleagues and the public at all times.”         associates—including Mr. Smalls and Mr.

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 New York State Courts’ Measure                     Amazon’s Analogous Measures

                                               Palmer—who failed to adhere to this critical
 On the same day, the NYS Courts stated that health and safety measure.
 “[e]mployees must not congregate in locker
 rooms, break rooms, lunchrooms/cafeterias or Amazon modified its operations and the layout
 other confined areas used by multiple people” of JFK8 in several ways to facilitate social
 and “encouraged [judges and non-judicial distancing. See supra ¶¶ 61–70.
 personnel] to take their lunch break in open
 outside areas wherever possible.”14

 On or before May 15, 2020, NYS Courts              Since March 5, Amazon has instructed all
 adopted procedures for when a courthouse           associates feeling sick to stay home, self-
 visitor or court staff member self-identifies as   monitor, seek assistance from a medical care
 having COVID-19 or having been exposed to          provider, and report any symptoms or
 COVID-19.                                          diagnosis to Amazon.

                                                    Amazon has posted signs at entrances directing
                                                    associates to go home if, among other things,
                                                    they are experiencing symptoms like coughing
                                                    or shortness of breath.

                                                    Amazon began contact tracing in February
                                                    2020, and, on March 20, Amazon formalized
                                                    its contact tracing process following
                                                    confirmation of a case of COVID-19 at JFK8.

                                                    Like New York State, Amazon places
                                                    associates identified as having close contact
                                                    with an individual with COVID-19 on paid
                                                    leave until 14 days after their last contact with
                                                    the diagnosed individual have elapsed. This
                                                    COVID-related paid time off does not count
                                                    against the associates’ paid and unpaid time-
                                                    off accruals.

 Beginning in mid-May 2020, New York State          Amazon administers its own COVID-19
 Courts began COVID-19 testing of uniformed         testing program, conducting tens of thousands
 officers serving in court facilities. The New      of tests a day across 650 sites—including
 York State Courts had no independent               JFK8. Because Amazon built this testing
 COVID-19 testing capacity, however, and            capacity itself, Amazon added to the total
 recommended that court personnel make use of       number of tests available—it did not take
                                                    supply from others.

14
  Declaration of John W. McConnell, Ex. G at 4, Quirk v. Difiore, No. 1:20-cv-5027, ECF No.
24-5 (S.D.N.Y. Aug. 7, 2020).

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 New York State Courts’ Measure                   Amazon’s Analogous Measures

 the testing facilities of New York State,
 county, and municipal agencies.           Amazon also has a partnership with Grand
                                           Rounds to provide telehealth consultations and
                                           up-to-the-minute support at no cost, and, in
                                           December 2020, Amazon launched a program
                                           which connects associates experiencing
                                           COVID-19 symptoms with free offsite
                                           COVID-19 testing options.


        127.   The OAG’s description of the New York State Courts’ response to COVID-19 in

public courthouses as “comprehensive,” “reasonable,” and “effective,” Quirk Opp. at 2, is equally

if not more applicable to Amazon’s more thorough, industry-leading response in a safer, private

facility.

        128.   The OAG’s inconsistent position is also clearly illustrated by the OAG’s statements

with respect to the federal regulations regarding face masks.

        129.   In its preliminary assessment of Amazon’s response to the COVID-19 pandemic,

OAG stated that “29 C.F.R. § 1910.132, specifically applied to the COVID-19 epidemic by the

OSHA Guidance, required making available types of PPE required during a COVID-19 outbreak,

including sufficient gloves and masks.” April 22 Letter at 10.

        130.   When defending the New York State Courts, however, OAG stated that 29 C.F.R.

§ 1910.132 “only applies when PPE is necessary because of ‘hazards of processes or environment,

chemical hazards, radiological hazards, or mechanical irritants,’ not to viruses such as COVID-

19.” Quirk Opp. at 17 (citation omitted).

    C. Mr. Smalls And Mr. Palmer Repeatedly Violated Amazon’s Health And Safety
       Policies.

        131.   Social distancing has been one of Amazon’s critical health and safety policies

throughout the COVID-19 pandemic. As Amazon’s policy states, the CDC recognizes social

                                                38
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distancing as a “key precaution[],” and it is “important that the social distancing requirements

[Amazon has] put into place . . . be communicated, adhered to, and enforced by everyone without

[Amazon’s] facilities at all times.”

       132.    Governor Cuomo has also emphasized the importance of social distancing, stating

on April 1, 2020: “How many people have to die before the people ignoring social distancing get

that they have a responsibility? One person sneezes—another person gets intubated. We have to

look out for each other.”15

       133.    The New York Attorney General expressed a similar view when discussing

regulations banning group rides to healthcare facilities: “These policies are in place for a reason:

to help save lives. Violating them endangers both patients and the general public[.]”16

       134.    Amazon clearly communicated its expectations regarding social distancing to

associates at JFK8 through multiple means, including at first through direct communications from

managers and eventually though posters throughout the facility stating that failure to maintain

social distancing “will result in disciplinary action” as well. Moreover, by March 25, Amazon had

implemented multiple process changes that would have made it obvious to any associate the

lengths to which Amazon was going to maintain social distance, including suspending exit

screening, eliminating in-person stand up meetings, extending breaks, and staggering shifts. See

supra ¶¶ 61–63.

       135.    Despite full knowledge of the importance of social distancing and Amazon’s efforts

to facilitate it, JFK8 associates Christian Smalls and Derrick Palmer repeatedly failed to maintain



15
   New York Governor Andrew Cuomo (@NYGovCuomo), Twitter (Apr. 1, 2020, 1:07 PM),
https://twitter.com/NYGovCuomo/status/1245397408210706434?s=20.
16
  New York State Attorney General Letitia James (@NewYorkStateAG), Twitter (Apr. 6, 2020,
10:48 AM), https://twitter.com/NewYorkStateAG/status/1247174275662036992.

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social distancing during the week of March 23, 2020, thereby placing their health and the health

of their colleagues at risk.

        136.    On March 25, 26, and 27, Mr. Smalls led groups of associates in disrupting

production meetings among senior members of JFK8’s leadership. Mr. Smalls and the other

associates did not maintain social distancing during these disruptions, as they were gathered in

rooms not sufficiently large to accommodate the required six-foot distance between individuals.

In response to Mr. Smalls’ first two violations of Amazon’s social-distancing requirements on

March 25 and 26, Mr. Smalls was warned and instructed regarding those requirements. Following

his third violation in three days, Amazon warned Mr. Smalls on March 27 that continued disregard

of social-distancing requirements could lead to the termination of his employment.

        137.    On March 26, Amazon learned that a JFK8 associate had been diagnosed with

COVID-19 and immediately initiated its standard contact-tracing procedure, which it completed

the evening of March 27. Amazon’s Loss Prevention team—the group that oversees security of

people, products, and information at each site and in Amazon’s supply chain—reviewed the

infected associate’s movements on video in accordance with Amazon’s contact-tracing

procedures, and determined that Mr. Smalls had been within six feet of the infected associate for

approximately 46 minutes. This significant length of time not only reflects Mr. Smalls’ blatant

disregard for social distancing, but also clearly placed him at risk of contracting and spreading

COVID-19.

        138.    On March 28, when Mr. Smalls next came to work, a senior operations manager at

JFK8 promptly met with Mr. Smalls and informed him that he had had contact with a fellow

associate diagnosed with COVID-19. Consistent with Amazon’s policy, the senior operations

manager explained that Mr. Smalls needed to leave the worksite immediately and self-quarantine,



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with full pay, until April 7—which was 14 days following Mr. Smalls’ last close contact with the

infected associate. The senior operations manager told Mr. Smalls that during this paid quarantine

period, he was not allowed back on site. Mr. Smalls clearly understood the restriction under which

he was being placed: He acknowledged that he understood Amazon’s quarantine instructions

during his conversation with the senior operations manager on March 28, and he has since

confirmed in multiple public interviews that he understood he could not return to any part of

JFK8.17

       139.    Two days later, on March 30, Mr. Smalls defied Amazon’s clear directive not to

return to JFK8 and attended a protest at the worksite. As Mr. Smalls explained in a public

interview, he recognized that he could not “come back to the building because I’m quarantined,”

but decided that he “didn’t give a damn” and returned to JFK8 for the March 30 protest. Although

Mr. Smalls knew that he had possibly contracted COVID-19, Mr. Smalls made the “strategic”

decision to time his protest to maximize the number of people who would be in the parking lot—

and thus at risk of exposure to COVID-19—because “perception is everything.”18

       140.    Further, Mr. Smalls again failed to maintain social distance during the protest

despite knowing that he could already be infected with COVID-19. Mr. Smalls brought himself


17
   See Camelot 331, A Nationwide Walkout For Amazon Got This Man FIRED! FT Chris Smalls,
YouTube (Apr. 24, 2020), https://www.youtube.com/watch?v=LGaavQUc6t8&t=57s (Mr.
Smalls: “Now I can’t come back to the building because I’m quarantined, but I didn’t give a
damn.”); PIX11 News, Amazon worker speaks on being fired after leading warehouse walkout,
YouTube (Apr. 1, 2020), https://www.youtube.com/watch?v=P0MGK57JZdI (Interviewer: “But
quarantine means you have to stay inside your house.” Mr. Smalls: “Well yeah, quarantine
definitely means that . . . .”).
18
  Tonetalks, Fired Amazon Worker Chris Smalls Tells His Story About Walk Out, YouTube (Apr.
4, 2020), https://www.youtube.com/watch?v=-p4Jx43a4jc (“Everything I did was strategic.
Basically I knew that we had lunch at 12:30. I looked at the weather for Monday – is about 65
degrees. So I know how Amazon operates. People like to eat outside when the weather is nice.
Perception is everything. So, whether we had 50 or 100 people, I knew people were gonna be
outside.”).

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within close proximity to—practically in the faces of—other Amazon associates, including

Amazon associates who did not join the protest but who were simply exiting the building during

their lunch break. Mr. Smalls’ continued and blatant disregard of the quarantine and social-

distancing measures necessary to protect the public health—including the well-being of the

Amazon associates on whose behalf he claimed to be protesting—cannot be doubted. In fact, it is

documented by publicly available media footage of the protest itself:




       141.    Because Mr. Smalls’ actions threatened the health and safety of his co-workers,

Amazon had no choice but to terminate his employment. As a senior operations manager at JFK8

explained while informing Mr. Smalls that Amazon terminated his employment:
                                               42
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       Amazon has a responsibility to ensure the safety of all associates, leaders, and visitors on
       our property. . . . Despite clear guidance to remain out of work with pay until April 7, 2020,
       you came onsite today, March 30, 2020, potentially putting Amazon employees and others
       at risk. In addition, on March 27, 2020 you were coached by [senior leaders] to comply
       with the Social Distancing requirements by remaining 6 FT apart from others at all times.
       Despite this coaching, and your quarantine status, on March 30, 2020 you repeatedly,
       intentionally violated Amazon’s social distancing requirements, failing to maintain 6FT of
       distance from others. At this time, based on your violation of Amazon’s Standards of
       Conduct and behavioral expectations, your employment will end effective immediately.

       142.    Like Mr. Smalls, Mr. Palmer repeatedly failed to maintain social distancing while

disrupting production meetings among JFK8’s senior leadership on March 25, 26, and 27.

       143.    In an effort to address Mr. Palmer’s multiple social-distancing violations, a senior

operations manager at JFK8 spoke with Mr. Palmer on March 27 and reiterated the importance of

maintaining social distancing. But Mr. Palmer ignored Amazon’s attempts to emphasize the

importance of social distancing and continued to violate Amazon’s social-distancing policy during

the March 30 protest.

       144.    Due to Mr. Palmer’s repeated social-distancing violations and disregard for his

fellow associates’ safety, Amazon issued a warning to Mr. Palmer:

       Your health and well being is our top priority. Amazon has a responsibility to ensure the
       safety of all associates, leaders, and visitors within the building whether they are on the
       clock or off the clock. On 3/25/20, 3/26/20, and 3/27/20, you were given the instruction to
       social distance and give 6 feet between each person. On 3/30/30 you came on site and
       were again provided the guidance to social distance and remain 6 feet from others, you
       intentionally violated Amazon’s social distancing requirements, failing to maintain 6FT of
       distance from others. These behaviors are violations of Amazon’s Standards of Conduct
       policy. “Insubordination or intentional disregard of instructions” is considered a Category
       1 violation of the Standards of Conduct.

       145.    The facts belie any contention that Amazon retaliated against Mr. Palmer for

protesting. Amazon’s treatment of Mr. Palmer is consistent with its treatment of other associates—

in fact, Amazon issued final written warnings for violations of the social-distancing policy to at

least 12 associates in addition to Mr. Palmer in April and May. More fundamentally, since



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Amazon issued the warning to him, Mr. Palmer has protested conditions at Amazon, filed a lawsuit

against Amazon seeking to address alleged deficiencies in Amazon’s response to the COVID-19

pandemic, and raised concerns on the Voice of the Associate board. Yet, Amazon has not issued

any additional warnings to Mr. Palmer for these activities, all of which were consistent with

Amazon’s social-distancing policy. It was Mr. Smalls’ and Mr. Palmer’s unsafe actions, not any

protest activity, that led Amazon to take action against them.

     D. Smalls And Palmer File Civil Claims, And The U.S. District Court For The Eastern
        District Of New York Dismisses Palmer’s Claims.

        146.   Three months after New York declared a COVID-19-related state of emergency on

March 7, 2020,19 Palmer and several co-workers and family members brought suit against Amazon

in the United States District Court for the Eastern District of New York. Palmer v. Amazon.com,

Inc., No. 20-cv-2468 (BMC), --- F. Supp. 3d ---, 2020 WL 6388599, at *2 (E.D.N.Y. Nov. 2,

2020). The Palmer plaintiffs challenged Amazon’s health and safety policies, contending that they

fell short of state and federal guidance, and asserted claims for, inter alia, public nuisance and

breach of the duty to protect the health and safety of employees under New York Labor Law

(“NYLL”) § 200. Id.

        147.   On July 9, the OAG appeared in Palmer’s litigation against Amazon and requested

leave to file an amicus curiae brief in support of the plaintiffs. The district court deemed the

OAG’s submission to be an amicus curiae brief.

        148.   The district court dismissed all of the Palmer plaintiffs’ claims. The court held that

the primary-jurisdiction doctrine applies to plaintiffs’ public-nuisance and Section 200 claims

because OSHA has primary jurisdiction over regulations of health and safety in the


19
   See N.Y. Exec. Order No. 202 (Mar. 7, 2020), https://www.governor.ny.gov/news/no-202-
declaring-disaster-emergency-state-new-york.

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workplace. Palmer, 2020 WL 6388599, at *4–7. The court noted that “Plaintiffs’ claims . . . turn

on factual issues requiring both technical and policy expertise” and “go to the heart of OSHA’s

expertise and discretion.” Id. at *6. The court concluded that OSHA—not the courts—should

evaluate the Palmer plaintiffs’ allegations that Amazon’s workplace policies at JFK8 do not

“adequately” protect worker safety. Id. (emphasis omitted). The court accordingly dismissed

plaintiffs’ public-nuisance and Section 200 claims pursuant to the primary-jurisdiction doctrine to

allow plaintiffs to “determine whether to seek relief through the appropriate administrative and

regulatory framework.” Id. at *7. (The Palmer plaintiffs have not pursued any relief from OSHA.)

         149.   The court further held that “[e]ven if [it] did not defer to OSHA’s primary

jurisdiction, plaintiffs’ public nuisance and NYLL § 200 claims would not survive Amazon’s

motion to dismiss.” Palmer, 2020 WL 6388599, at *7. The court concluded that “[b]oth plaintiffs’

concern and their risk present a difference in degree, not kind, from the injury suffered by the

public at large and thus is not actionable in a private action for public nuisance.” Id. at *8. The

court also held that plaintiffs’ Section 200 claim is preempted by New York’s Workers’

Compensation Law. Id. at *10-11. The Palmer plaintiffs have appealed that decision to the United

States Court of Appeals for the Second Circuit. See Palmer v. Amazon.com, Inc., No. 20-3989 (2d

Cir.).

         150.   Soon after the district court dismissed Mr. Palmer’s complaint, Mr. Smalls brought

suit against Amazon, alleging that (a) he was exposed to a co-worker with COVID-19, (b) Amazon

“direct[ed] him to leave the premises” and to “quarantine[ ] with pay,” (c) he ignored this order

and “return[ed] to the fulfillment center” to “lead a demonstration,” and (d) Amazon promptly

terminated his employment, explaining that he “violat[ed] its quarantine order and thereby




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jeopardiz[ed] the health and safety of other employees.” Ex. 1 (Compl. ¶¶ 8, 9, 13, 16, 27, 29,

Smalls v. Amazon, Inc., No. 1:20-cv-5492 (E.D.N.Y. Nov. 12, 2020) (“Smalls Compl.”)).

        151.     Mr. Smalls claimed that his termination was retaliatory and discriminatory in

violation of 42 U.S.C. § 1981 and the New York State and New York City Human Rights Laws.

Mr. Smalls also sought to represent a class of non-management “line workers,” who, he claimed,

were provided with less-effective COVID-19 safety measures than management employees based

on their race.

        152.     Mr. Smalls’ own allegations, however, established why he lost his job: he was

exposed to a co-worker with COVID-19; he was “direct[ed]” to “leave the premises” and to

quarantine (and was paid to do so); he ignored this order, returning to the worksite to lead a

demonstration, thereby putting the health and safety of his co-workers at risk; and Amazon fired

him two hours later, explaining that his violation of the quarantine order was the reason. Ex. 1

(Smalls Compl. ¶¶ 9, 13, 16, 27, 29). These allegations demonstrate that Mr. Smalls was fired not

because of a discriminatory motive on the part of Amazon, but because of his own actions.

        153.     More fundamentally, the allegations in Mr. Smalls’ complaint are subject to the

primary jurisdiction of OSHA or the NLRB, and are preempted by the National Labor Relations

Act. Mr. Smalls also offered no factual allegations to support his false, conclusory assertion that

Amazon’s safety policies applied differently to management, or that any difference in treatment

was related to race, as opposed to job duties.

        154.     On December 28, 2020, Amazon filed a pre-motion letter, seeking leave to file a

motion to dismiss Mr. Smalls’ lawsuit. Pre-Motion Letter, Smalls v. Amazon.com Servs. LLC, No.

1:20-cv-5492, ECF No. 15 (E.D.N.Y. Dec. 28, 2020).




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     E. The OAG Launched An Investigation Into Matters Governed By Federal Law And
        Within The Jurisdiction Of Federal Agencies.

         155.    On March 30, 2020, shortly after Amazon terminated Mr. Smalls’ employment

for his repeated, blatant disregard of policies designed to protect the health of his co-workers, the

New York Attorney General posted a tweet and issued a statement criticizing Amazon’s actions

with respect to Mr. Smalls and “calling on the National Labor Relations Board to investigate.”20

        156.    On April 3, Amazon sent the OAG a letter with an extensive description of the

company’s health and safety measures and its reasons for terminating Mr. Smalls’ employment,

and provided the following excerpt from the New York City Sheriff’s Office’s report of the

inspection to the Mayor’s Office:




20
   New York State Office of the Attorney General, AG James’ Statement on Firing of Amazon
Worker Who Organized Walkout (Mar. 30, 2020), https://ag.ny.gov/press-release/2020/ag-james-
statement-firing-amazon-worker-who-organized-walkout (emphasis added); New York State
Attorney General Letitia James (@NewYorkStateAG), Twitter, (Mar. 30, 2020, 10:15 PM),
https://twitter.com/NewYorkStateAG/status/1244810606613577728 (emphasis added).

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     Thank you for allowing us access to inspect your facility yesterday. I wrote a ve1y favorab le repo1t back to the
     Mayor's Office. which is overseeing the complaints regarding the violations of the executive orders and social
     distancing policies. I pasted my repo1t back to the Mayor's Office below so you can see it.
     Unfortunately. with that said the Mayor's Office is still continuing to receive muuerous complaints about your
     facility. Although. after seeing your faci lity I do believe that these complaints are completely baseless . we do
     still have an obligation to investigate them. Would it be possible for us to come by the faci lity again two or
     three more times this week just to verify that nothing has changed within the facility? I know that this is
     inconvenient. and you have no legal obligation to grant this request. but we can make it ve1y quick and non-
     intrusive . I can come with jus t one other officer so we don't need to make a big spectacle again.
     Please advise if this will be penuissible. and what days and times will work for you or yom· staff. I generally
     work mid-aftemoons tlu·ough the night shift.

     Thank you ve1y much.

     Lieutenant Derek A. Skuzenski. PhD.
     Vice President
      YC Deputy Sheriffs' Association
     w,vw _).J-y CSheriffsPBA.ont

            Deputy Sheriffs led by Lieutenant Skuzenski conducted an inspection at location based on the
            received complaints. They spoke with Mr. Geoff Gilbeit-Differ. the Regional Loss Prevention
            Manager who stated that he was not smprised that they had received complaints because they were
            cull"ently managing an employee strike. Sheriff's Lieutenant Skuzenski requested pennission for
            his team to enter and inspect the approximately 1.500.000 square foot facility . Mr. Gilbe1t-Differ
            voluntarily granted the request. and provided deputies with a tom of the facility . The facility
            appeared to go above and beyond the ctm·ent compliance requirements. Deputies observed the
            facility's temperature screening procedure which is required to enter the facility. In addition. at the
            entrance way there are numerous legible signs explaining the six-foot social distancing policy. and
            there are taped indicators on the floor to enforce this policy. Deputies were given a tour of the
            work areas. which had eve1y other desk space shut down so that no employees were within the
            vicinity of any other employee . Deputies were also given a tom· of the break room/ lunch room
            which also appeared to be in strict compliance. The loss prevention manager secured one chair to
            each table. so that it would be impossible for more than one employee to be at table at once. Mr.
            Gilbert-Differ also explained that they had begun staggering employee shifts to both minimize the
            amom1t of staff in the facility at once. and to reduce the amount of staff that was entering and
            exiting the building at once to fi.uiher promote social distancing.


       157.      On April 22—less than a month after launching its investigation and before the

OAG asked Amazon to make a single employee available for an interview—the OAG took the

highly unusual step of sending Amazon a letter “express[ing] certain preliminary assessments and,

pending further investigation, request[ing] certain immediate relief.” April 22 Letter at 1. The

letter specifically cited federal law under the jurisdiction of federal OSHA, including “both

specific OSHA safety standards applied specifically to this crisis by the OSHA Guidance, and the

OSHA general duty clause.” Id. at 10.

       158.      With respect to Mr. Smalls, the April 22 letter made clear that Mr. Smalls’ alleged

protected activity fell within the scope of the NLRA because he “led coworkers in refusing to work

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under such unlawfully unsafe conditions by engaging in a walkout to protest these conditions on

March 30,” and “Amazon discharged Mr. Smalls . . . after he organized and participated in a protest

of [working] conditions.” April 22 Letter at 9, 12. The OAG demanded reinstatement of Mr.

Smalls “regardless of what conclusion is ultimately reached” as to the merits of his discharge. Id.

at 13, n.23.

        159.    On April 27, NPR reported that it had obtained a copy of the OAG’s April 22 letter

to Amazon. NPR’s report quotes from the April 22 letter and describes its contents.21

        160.    Amazon did not provide a copy of the OAG’s April 22 letter to NPR.

        161.    Although the OAG denies providing a copy of its April 22 letter to NPR, the Deputy

Labor Bureau Chief who led the OAG’s investigation of Amazon and who co-signed the April 22

letter retweeted the NPR article on April 27—the day NPR published the article—noting “Letter

quoted in article.”22

        162.    On May 27, 2020, the OAG, through its Deputy Labor Bureau Chief, executed a

common interest agreement with Towards Justice and Make the Road New York (“Make the

Road”), lawyers for Mr. Palmer, on behalf of themselves and their clients. The common interest

agreement expressly contemplated that the parties would share privileged or confidential material

and use that material “in discussion of facts and legal principles relevant to (a) the Investigation,

and/or (b) the Lawsuit concerning Amazon’s compliance with legal requirements relevant to



21
  Alina Selyukh, Amazon Warehouse Safety ‘Inadequate,’ N.Y. Attorney General’s Office Says,
NPR (Apr. 27, 2020), https://www.npr.org/2020/04/27/846438983/amazon-warehouse-safety-
inadequate-n-y-attorney-general-s-office-says.
22
   On April 28, the same OAG Deputy Bureau Chief retweeted a Bloomberg article reporting on
the OAG’s investigation of Amazon. See Erik Larson, Amazon’s Pandemic Labor Practices Being
Probed        by       New       York,       BLOOMBERG          (Apr.      27,       2020),
https://www.bloomberg.com/news/articles/2020-04-28/amazon-s-pandemic-labor-practices-
being-probed-by-new-york.

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protecting workers from COVID-19 and preventing spread of the virus to the public, and to the

extent appropriate, development by the Parties of potential future litigation strategies.”

       163.    On June 3, Towards Justice and Make the Road filed a lawsuit against Amazon on

behalf of multiple associates employed at JFK8 and their families, including Mr. Palmer.

       164.    On July 9, the OAG requested leave to file an amicus curiae brief in the Palmer

litigation in support of the plaintiffs. The OAG did not disclose to the court that it had executed

the common interest agreement with Towards Justice and Make the Road, nor has it withdrawn

from the agreement.

   F. The OAG Has Made Overreaching Demands Of Amazon In Order To Discontinue
      Its Investigation And Has Threatened To Enforce Them Imminently.

       165.    Now, the OAG has threatened to sue Amazon unless the company complies with a

series of unreasonable demands. These demands—made without legal or factual justification—

show that OAG’s threat to enforce the New York Labor Law against Amazon is real and imminent,

and demonstrate why Amazon must seek immediate relief from this Court.

       166.    The OAG has made these threats and demands even though federal authorities have

primary jurisdiction to regulate workplace safety, and federal law preempts efforts to use state law

to regulate Amazon’s health and safety responses to COVID-19 and allegations of retaliation for

NLRA-protected activity. The OAG’s actions are not only unauthorized, but also unreasonable in

light of the factual record demonstrating that Amazon’s actions complied with and exceeded

federal standards.

       167.    In its preliminary assessment, the OAG demanded that Amazon take certain steps

“pending ultimate resolution of [its] investigation,” noting that, “[d]epending on the outcome of

[its] investigation, additional remedies may be sought later.” April 22 Letter at 13 & n.23.




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       168.    The OAG’s demand that Amazon “remed[y]” certain alleged “health and safety

issues” usurps the primary jurisdiction of federal authorities to regulate workplace safety issues

under the OSH Act and ignores the preemption of state law. April 22 Letter at 13.

       169.    The OAG’s demand also ignores the New York City Sheriff’s Office’s conclusion

that complaints about those issues were completely “baseless,” as well as Amazon’s record of

industry-leading safety measures, well exceeding the New York State Courts’ efforts that the OAG

described as “comprehensive,” “reasonable, effective, and necessary in minimizing exposure.”

Quirk Opp. at 2.

       170.    Similarly, the OAG’s demand that Amazon retain a “health and safety consultant”

to “advise Amazon” and “monitor Amazon’s implementation” of health and safety measures does

not address the fact that Amazon already retains and consults with top health and safety experts

and bases its health and safety programs on their advice. April 22 Letter at 14.

       171.    The OAG also demanded reinstatement for Mr. Smalls “regardless of what

conclusion is ultimately reached” through its investigation—thus, the OAG demanded

reinstatement of Mr. Smalls even if the evidence shows—as it does—that Mr. Smalls’ conduct

actively threatened the health and safety of his coworkers. April 22 Letter at 13 n.23.

       172.    Despite failing to identify a legal or factual basis for its claims against Amazon

after eight months of investigation, the OAG has not only reasserted the demands in its preliminary

assessment, but also has also demanded additional unjustified concessions from Amazon.

       173.    The OAG’s new demands, like those in its preliminary assessment, are unwarranted

and untethered to the factual record or the law. These unjustified demands include payments to

Mr. Smalls and Mr. Palmer for alleged “emotional distress,” disgorgement of profits, and subsidies

for expanded bus service by MTA. Claims of retaliation against workers who protest working



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conditions, however, fall within the primary jurisdiction of federal regulators and are preempted

by federal law. In addition, even under state law, the OAG has no power to file employment claims

on behalf of individuals; indeed, Mr. Smalls and Mr. Palmer already have retained counsel and

filed their own employment claims.

       174.    The OAG has threatened to sue Amazon imminently if Amazon does not acquiesce

to the OAG’s demands.

   G. The OAG Is Impermissibly Intruding On Federal Jurisdiction.

       175.    The OAG lacks legal authority to regulate workplace safety responses to COVID-

19 or claims of retaliation against workers who protest working conditions; such regulatory

authority is preempted by federal law and falls within the primary and exclusive jurisdiction of

federal regulators.

The OAG Has No Legal Basis To Regulate Workplace Health And Safety

       176.    The OAG’s ongoing unsubstantiated effort to regulate Amazon’s health-and-safety

response to the COVID-19 pandemic and to force the company to adopt the OAG’s preferred

workplace policies is preempted by federal law.

       177.    The OSH Act “‘unquestionably’ pre-empts” any state attempt to “establish[ ] an

occupational health and safety standard on an issue for which OSHA has already promulgated a

standard.” Gade v. Nat’l Solid Wastes Mgmt. Ass’n, 505 U.S. 88, 97 (1992) (plurality); see 29

U.S.C. § 667(a)–(b). Under the Act, states may “assume responsibility” for “occupational safety

and health standards” only by submitting a plan to the Secretary of Labor. 29 U.S.C. § 667(b).

Absent such a plan, OSHA retains exclusive jurisdiction to enforce the standards that it

promulgates.




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       178.    New York has deliberately chosen not to exercise the right to develop and enforce

occupational health and safety standards for private employers. Although New York submitted a

plan that received the Secretary’s approval in 1973, New York withdrew that plan two years later.

Palmer, 2020 WL 6388599, at *9 (citing Irwin v. St. Joseph’s Intercommunity Hosp., 236 A.D.2d

123, 127 (N.Y. App. Div. 4th Dep’t 1997)). Since that time, New York has expressly disclaimed

authority to promulgate standards in areas within OSHA’s jurisdiction. See N.Y. Lab. Law § 27(1)

(“[A] safety or health standard promulgated under this section shall apply only to employees not

covered by a federal occupational safety or health standard[.]”). And the OAG has agreed that the

OSH Act’s “statutory scheme envisions that the public rights created by the Act are to be protected

by the Secretary [of Labor] and that enforcement of the Act is the sole responsibility of the

Secretary.” Quirk Opp. at 17 (quoting Jacobsen v. N.Y. City Health & Hosps. Corp., No. 12-cv-

7460, 2013 WL 4565037, at *7 (S.D.N.Y. Aug. 28, 2013)). Accordingly, OSHA retains exclusive

jurisdiction to enforce workplace safety standards for private employers like Amazon.

       179.    While the OSH Act does not preclude New York from “asserting jurisdiction . . .

over any occupational safety or health issue” in the absence of an applicable federal standard, 29

U.S.C. § 667(a), OSHA has made clear that “existing [federal] standards for, inter alia, personal

protective equipment, general environmental controls, and toxic and hazardous substances, as well

as employers’ obligations under the OSH Act’s general duty clause,” govern employers’

operations in response to COVID-19. Palmer, 2020 WL 6388599, at *5; see Dep’t of Labor Br.

21–23, In re AFL-CIO, No. 20-1158 (D.C. Cir. May 29, 2020); see also 29 C.F.R. § 1910.132 (PPE);

id. § 1910.134 (airborne contaminants); id. § 1910.141 (sanitation). This approach reflects

OSHA’s “reasonabl[e] determin[ation] that . . . it has existing regulatory tools at its disposal to

ensure that employers are maintaining hazard-free work environments.” Palmer, 2020 WL



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6388599, at *5 (quotation marks omitted); see also In re AFL-CIO, No. 20-1158, 2020 WL

3125324, at *1 (D.C. Cir. June 11, 2020) (per curiam) (“In light of the unprecedented nature of the

COVID-19 pandemic, as well as the regulatory tools that the OSHA has at its disposal to ensure

that employers are maintaining hazard-free work environments, the OSHA reasonably determined

that an [emergency temporary standard] is not necessary at this time.”) (citation omitted).

       180.    The OAG itself agrees that the alleged health and safety issues at JFK8 are

governed by existing federal laws and standards enforced by OSHA. See April 22 Letter at 10

(alleging Amazon’s conduct “would likely violate both specific OSHA safety standards applied

specifically to this crisis by the OSHA Guidance, and the OSHA general duty clause”); id.

(“[C]arrying on business in an inadequately sanitized and disinfected workplace would violate 29

C.F.R. § 1910.22 and § 1910.141[.]”); id. (“29 C.F.R. § 1910.132, specifically applied to the

COVID-19 epidemic by the OSHA Guidance, required making available types of PPE required

during a COVID-19 outbreak, including sufficient gloves and masks.”); id. (“To the extent those

specific standards did not apply, . . . most of the hazards of which Mr. Smalls complained,

including failure to sanitize the facility, failure to inform employees of their exposure to COVID-

19, and failure to provide adequate PPE, were ‘recognized’ hazards under OSHA’s general duty

clause.”).

       181.    As the Palmer court observed, “OSHA continues to use its enforcement

mechanisms during the pandemic.” Palmer, 2020 WL 6388599, at *6. By January 14, 2021,

OSHA had opened approximately 1,500 federal inspections as part of its response to COVID-19

and issued over 300 citations with total initial penalties of $4,034,288 for violations of existing




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standards.23 In addition to this enforcement activity, OSHA has issued “extensive guidance, often

in conjunction with the CDC,” concerning COVID-19 workplace safety.24 This federal regulatory

activity reflects OSHA’s policy judgment that guidance pronouncements allow the agency “to

speak more specifically to particular types of workplaces and controls than would be practicable

in a generally applicable rule.”25

           182.   Further, President Biden already has issued an Executive Order directing OSHA to

take several additional actions regarding COVID-19, including issuing new COVID-19 safety

guidance to employers by February 4, 2021. See Executive Order on Protecting Worker Health

and Safety, White House § 2(a) (Jan. 21, 2021), https://www.whitehouse.gov/briefing-

room/presidential-actions/2021/01/21/executive-order-protecting-worker-health-and-safety/.

           183.   Pursuant to this Executive Order, on January 29, 2021, OSHA issued guidance

“intended to . . . help [employers] determine appropriate control measures to implement.”26 This

guidance “contains . . . descriptions of mandatory safety and health standards” as well as

“recommendations [that] are advisory in nature, informational in content, and are intended to assist

employers in providing a safe and healthful workplace.”




23
     See OSHA, COVID-19 Response Summary (last visited Feb. 10, 2021),
https://www.osha.gov/enforcement/covid-19-data#fed_inspections_open; OSHA, Inspections
with      COVID-related      Citations     (last      updated       Jan.       14,  2021),
https://www.osha.gov/enforcement/covid-19-data/inspections-covid-related-citations.
24
   Testimony of Loren E. Sweatt, Principal Assistant Deputy Secretary, OSHA, before
Subcommittee on Workforce Protections, Committee on Education and Labor, U.S. House of
Representatives (May 28, 2020), https://www.osha.gov/news/testimonies/05282020.
25
     Id.
26
   OSHA, Protecting Workers: Guidance on Mitigating and Preventing the Spread of COVID-19
in the Workplace (Jan. 29, 2021), https://www.osha.gov/coronavirus/safework.


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          184.    OSHA’s January 29 guidance makes clear that “[a]ll of OSHA’s standards that

apply to protecting workers from infection remain in place,” including “requirements for PPE,

respiratory protection, sanitation, protection from bloodborne pathogens, and OSHA’s

requirements for employee access to medical and exposure records.” In addition, “employers still

are required under the General Duty Clause, Section 5(a)(1) of the OSH Act, to provide a safe and

healthful workplace that is free from recognized hazards that can cause serious physical harm or

death.”27 The January 29 OSHA guidance therefore demonstrates that OSHA remains active at

the federal level in policing employers’ workplace safety responses to the COVID-19 pandemic.

          185.    President Biden’s Executive Order also directs OSHA to “consider whether any

emergency temporary standards on COVID-19, including with respect to masks in the workplace,

are necessary,” and if it determines such standards are necessary, to issue emergency temporary

standards by March 15, 2021, Executive Order on Protecting Worker Health and Safety, supra,

§ 2(b), thus raising the prospect of additional federal standards governing employers’ operations

in response to COVID-19.

          186.    Thus, the OSH Act preempts the OAG’s attempt to enforce OSHA standards or its

own workplace safety preferences with respect to Amazon’s response to the COVID-19 pandemic.

As the Palmer court noted, “New York . . . cannot enforce state occupational safety and health

standards for issues covered by a federal standard.” 2020 WL 6388599, at *9.

          187.    In fact, the Palmer court found that the very concessions the OAG is attempting to

coerce from Amazon are firmly within the primary jurisdiction of OSHA:




27
     Id. (citations omitted).

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 Relief Demanded by OAG                        Relief Requested by Palmer Plaintiffs and Found
                                               to Be Within OSHA’s Primary Jurisdiction
 (April 22 Letter at 13–14)
                                               (Palmer, 2020 WL 6388599, at *3–4, *7)

 Provide employees with adequate hand          Continue suspending rate requirements and refrain
 sanitizer and other cleaning agents and       from counting handwashing and bathroom breaks
 adequate time to engage in regular and        against TOT requirements, and communicate these
 frequent handwashing.                         policies to workers.

                                               Provide workers with adequate time and tools to
                                               clean and disinfect their workstations.

 Whenever necessary, employee stations Provide access to air-conditioned breakrooms where
 must be re-configured and other workers can maintain social distancing.
 necessary changes must be made in
 Amazon facilities to enable and facilitate
 employees’ actual compliance with the
 social distancing six-foot rule.

 Provide employees with accurate and           Conform [Amazon’s contact tracing] efforts to New
 complete information concerning their         York and CDC guidance for contact tracing, such as
 possible exposure to COVID-19 in the          interviewing the infected individual about others
 workplace        (while       maintaining     with whom they have been in touch, accounting for
 confidentiality as to particular infected     their activities in the 48 hours before diagnosis or
 employees’ identities), as set forth in the   onset of symptoms, and following up with all
 CDC Guidance.                                 identified contacts of the infected individual to
                                               inform them of their exposure and inquire if they are
                                               experiencing symptoms.


       188.    The OAG attempts to predicate its right to invade OSHA’s jurisdiction on Section

200 of the New York Labor Law, but that attempt fails on multiple levels.

       189.    First, even if the OAG’s regulation of Amazon were not preempted by federal law,

the OAG’s authority under Section 200 is limited to “institut[ing] a proceeding to . . . enjoin further

work in or occupancy of [an] area” after the Labor Commissioner “finds that [the] area . . . is in a

dangerous condition.” N.Y. Lab. Law § 200(2)–(3). The Labor Commissioner has made no such

determination, nor could she based on the facts. Moreover, to the extent the OAG is attempting to

leverage Section 200 to recover damages arising from injuries supposedly suffered by associates


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at JFK8, or to impose injunctive relief, the New York’s Workers’ Compensation Law bars such

claims. Palmer, 2020 WL 6388599, at *11 (“the workers’ compensation scheme and the remedies

available under it provide the exclusive remedy for employee injuries”); see also N.Y. Workers

Comp. Law § 11. Accordingly, the OAG cannot seek any relief against Amazon under Section

200, much less sweeping changes to Amazon’s policies and procedures, such as how Amazon

measures productivity, that have little to no bearing on any alleged “dangerous condition.”

       190.    There is also no “dangerous condition” at JFK8 that could even conceivably trigger

Section 200. Amazon has provided the OAG with substantial, objective data showing that Amazon

has adopted and implemented extensive and effective health and safety measures. For instance,

multiple inspections by the New York City Sheriff’s Office found that JFK8 “appeared to go above

and beyond the current compliance requirements.” And only 1.15% of Amazon’s New York front-

line employees have tested positive or been presumed positive for COVID-19—a rate that is 50%

lower than the rate for New York’s general population. There is thus no support for the claim that

Amazon operates JFK8 in a “dangerous condition.”

       191.    Relatedly, the OAG cannot circumvent the primary and exclusive jurisdiction of

OSHA by converting federal agency guidance (as incorporated into state guidance) into legally

binding requirements. This would violate the Due Process Clause’s guarantee of fair notice, FCC

v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012), and the related requirements of the

federal and state administrative procedure acts, see 5 U.S.C. § 553; N.Y. A.P.A. Law § 202.

       192.    In New York, guidance documents are just that—they “have no legal effect but are

merely explanatory.” N.Y. A.P.A. Law § 102(2)(b)(iv); cf. UCP-Bayview Nursing Home v.

Novello, 2 A.D.3d 643, 645 (2d App. Div. 2003) (Department of Health’s “explanatory statement”

“has no legal effect standing alone”). To the extent that New York guidance incorporates federal



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guidance, the CDC’s COVID-19 guidance documents are “not binding,” United States v. Wragg,

No. 15-cr-398, 2020 WL 4015204, at *8 n.12 (E.D. Pa. July 16, 2020), and OSHA’s COVID-19

guidance, on its face, contains “recommendations [that] are advisory in nature” and “creates no

new legal obligations,” OSHA, Guidance on Preparing Workplaces for COVID-19,

https://www.osha.gov/Publications/OSHA3990.pdf; see also A.S.M. v. Warden, Stewart Cty.

Detention Ctr., No. 7:20-cv-62, 2020 WL 2988307, at *9 (M.D. Ga. June 3, 2020) (“Abundant

evidence exists that the CDC did not intend to bind facilities by its Guidance.”); Ass’n of Flight

Attendants-CWA, AFL-CIO v. Huerta, 785 F.3d 710, 716 (D.C. Cir. 2015) (“Policy statements are

binding on neither the public nor the agency.” (quotation marks omitted)).

       193.    For these reasons, the OAG lacks any legal basis to continue its investigation into

Amazon’s response to the COVID-19 pandemic, to attempt to force the company to adopt the

OAG’s preferred workplace policies or to initiate enforcement action against Amazon.

The OAG Has No Legal Basis To Regulate The Alleged Termination Of Employees For
Organizing Activity

       194.    The OAG also lacks any legal basis to continue investigating Amazon for seeking

concessions to address, or initiating enforcement action with respect to, the claim that Amazon

terminated Mr. Smalls or issued a final warning to Mr. Palmer for organizing and participating in

protests regarding working conditions at JFK8.

       195.    Under the United States Supreme Court’s Garmon doctrine, the NLRA preempts

state law concerning activity that the Act “protects, prohibits, or arguably protects or prohibits.”

Ass’n of Car Wash Owners Inc. v. City of N.Y., 911 F.3d 74, 81 (2d Cir. 2018) (quotation marks

omitted; emphasis added). Indeed, “[i]t is essential to the administration of the [NLRA]” that

“determinations” whether a “particular activity” is governed by the NLRA “be left in the first

instance to the National Labor Relations Board.” San Diego Bldg. Trades Council v. Garmon, 359

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U.S. 236, 244–45 (1959). Any “uncertainty” about the NLRA’s application is for the NLRB to

resolve. Healthcare Ass’n of N.Y. State, Inc. v. Pataki, 471 F.3d 87, 101 (2d Cir. 2006).

       196.    Only the NLRB, therefore, can address the OAG’s allegation that Amazon

“terminate[d] an employee” for “publicly protest[ing] the lack of precautions that [the company]

was taking to protect [him] from COVID-19.” That is a quintessential NLRA claim, as evidenced

by the fact that the New York Attorney General “call[ed] on the National Labor Relations Board

to investigate” Smalls’ termination.28

       197.    The NLRB has made abundantly clear that the NLRA prohibits retaliation against

employees who engage in concerted activity, such as protesting, regarding their employer’s efforts

to address COVID-19. For example, “after a group of employees protested . . . [an] alleged failure

to provide personal protective equipment (PPE), such as gloves, masks and hand sanitizer, and to

enforce social distancing guidelines,” the NLRB directed its Regional Office “to issue complaint

absent settlement alleging that the Employer violated Section 8(a)(1) of the Act by unlawfully

discharging the employee who led protected concerted efforts to secure PPE and to enforce social

distancing.” See Peter B. Robb, General Counsel, Nat’l Labor Relations Bd., Summaries of Advice

Merit Determinations Related to Coronavirus Disease 2019 Issues at 2 (Sept. 18, 2020).

       198.    In fact, the NLRB already exercised its jurisdiction over claims by a former JFK8

associate and a current DBK1 associate that Amazon retaliated against them for engaging in

protected concerted activity. In the case of the former JFK8 associate, his claim arose from his

participation in the same April 6 protest as Mr. Palmer.




28
  AG James’ Statement on Firing of Amazon Worker Who Organized Walkout, supra, n.20
(emphasis added).

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       199.    Because the NLRA deprives the OAG of jurisdiction over claims of retaliation

based on Mr. Smalls’ or Mr. Palmer’s participation in protests at JFK8, the OAG has no lawful

basis to continue investigating or to prosecute these claims.

       200.    Beyond federal preemption, New York Labor Law Section 740, which governs

claims of retaliation, does not even provide for government enforcement of its provisions, but

rather provides that “[a]n employee who has been the subject of a retaliatory personnel action in

violation of this section may institute a civil action.” N.Y. Lab. Law § 740(4)(a) (emphasis added).

       201.    Similarly, New York Labor Law Section 215, another anti-retaliation statute,

authorizes the commissioner of the New York Department of Labor to investigate, and, if

appropriate, assess penalties and order all appropriate relief. Section 215 also permits an employee

to bring a civil action for alleged violations of this provision. Section 215 does not provide for

enforcement of the provision by the OAG.

                                 FIRST CLAIM FOR RELIEF

               (Declaratory Relief – Federal Preemption and Primary Jurisdiction)

       202.    Plaintiff repeats and re-alleges the foregoing paragraphs.

       203.    The Supremacy Clause of the U.S. Constitution provides that the “Constitution, and

the Laws of the United States which shall be made in Pursuance thereof; . . . shall be the supreme

Law of the Land.” U.S. Const. art VI.

       204.    The OSH Act preempts any attempt by the OAG to exercise regulatory authority

over a private employer’s health-and-safety response to COVID-19.           The exercise of such

authority, in the absence of an approved state standard, impermissibly intrudes on OSHA’s

exclusive jurisdiction.

       205.    Even if not preempted by the OSH Act, the OAG’s attempt to exercise regulatory

authority over a private employer’s health-and-safety response to COVID-19 goes to the heart of
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OSHA’s expertise and discretion and thus impermissibly seeks to regulate an area over which

OSHA has primary jurisdiction.

       206.    Further, New York’s Workers’ Compensation Law—which provides that workers’

compensation benefits are the sole and exclusive remedy of an employee against his employer for

injuries sustained in the course of employment—bars the OAG’s attempt to seek monetary

damages or injunctive relief based on alleged past harm to Amazon associates.

       207.    The NLRA preempts the OAG from exercising regulatory authority over a claim of

retaliation based on an employee’s protest of working conditions. Such regulatory authority falls

within the exclusive jurisdiction of the NLRB.

       208.    New York Labor Law Sections 215 and 740 create a private, not public, right of

action and therefore do not vest the OAG with authority to press a claim of retaliation on behalf

of an individual employee.

       209.    As a result, the OAG lacks legal authority to regulate workplace safety responses

to COVID-19 or claims of retaliation against workers who protest working conditions.

       210.    Amazon has been, and will be, irreparably injured by the OAG’s refusal to comply

with federal law.

       211.    The requested declaratory relief will prevent further injuries caused by the OAG’s

violation of federal law.

                               SECOND CLAIM FOR RELIEF

                (Injunctive Relief – Federal Preemption and Primary Jurisdiction)

       212.    Plaintiff repeats and re-alleges the foregoing paragraphs.

       213.    The Supremacy Clause of the U.S. Constitution provides that the “Constitution, and

the Laws of the United States which shall be made in Pursuance thereof; . . . shall be the supreme

Law of the Land.” U.S. Const. art VI.
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       214.    The OSH Act preempts any attempt by the OAG to exercise regulatory authority

over a private employer’s health-and-safety response to COVID-19.         The exercise of such

authority, in the absence of an approved state standard, impermissibly intrudes on OSHA’s

exclusive jurisdiction.

       215.    Even if not preempted by the OSH Act, the OAG’s attempt to exercise regulatory

authority over a private employer’s health-and-safety response to COVID-19 goes to the heart of

OSHA’s expertise and discretion and thus impermissibly seeks to regulate an area over which

OSHA has primary jurisdiction.

       216.    Further, New York’s Workers’ Compensation Law—which provides that workers’

compensation benefits are the sole and exclusive remedy of an employee against his employer for

injuries sustained in the course of employment—bars the OAG’s attempt to seek monetary

damages or injunctive relief based on alleged past harm to Amazon associates.

       217.    The NLRA preempts the OAG from exercising regulatory authority over a claim of

retaliation based on an employee’s protest of working conditions. Such regulatory authority falls

within the exclusive jurisdiction of the NLRB.

       218.    New York Labor Law Sections 215 and 740 create a private, not public, right of

action and therefore do not vest the OAG with authority to press a claim of retaliation on behalf

of an individual employee.

       219.    As a result, the OAG lacks legal authority to regulate workplace safety responses

to COVID-19 or claims of retaliation against workers who protest working conditions.

       220.    Amazon has been, and will be, irreparably injured by the OAG’s refusal to comply

with federal law.




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       221.    The requested injunctive relief will prevent further injuries caused by the OAG’s

violation of federal law.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully seeks the following relief:

       1.      A declaration that defendant lacks authority to regulate (1) workplace safety

responses to COVID-19 and (2) claims of retaliation against workers who protest working

conditions.

       2.      Injunctive relief preventing defendant, acting in her official capacity, from causing

the OAG to purport to exercise regulatory authority over (1) workplace safety responses to

COVID-19 and (2) claims of retaliation against workers who protest working conditions.

       3.      Any and all such relief as the Court may deem appropriate.

Dated: February 12, 2021
                                             _/s/ Zainab Ahmad________________
                                             Zainab Ahmad

                                             Zainab Ahmad
                                             Mylan L. Denerstein
                                             GIBSON, DUNN & CRUTCHER LLP
                                             200 Park Avenue
                                             New York, NY 10166-0193
                                             Tel: (212) 351-4000
                                             zahmad@gibsondunn.com
                                             mdenerstein@gibsondunn.com

                                             Jason C. Schwartz (pro hac vice forthcoming)
                                             Lucas C. Townsend (pro hac vice forthcoming)
                                             GIBSON, DUNN & CRUTCHER LLP
                                             1050 Connecticut Avenue, N.W.
                                             Washington D.C. 20036-5306
                                             Tel: (202) 955-8244
                                             jschwartz@gibsondunn.com
                                             ltownsend@gibsondunn.com

                                             Counsel for Plaintiff Amazon.com, Inc.


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